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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

                                             :
                                             :
                                             :          Case No. 2:14-CV-01838
                                             :
 IN RE EVERYWARE GLOBAL, INC.                :          JUDGE ALGENON L. MARBLEY
 SECURITIES LITIGATION                       :
                                             :          Magistrate Judge Kemp
                                             :

                                     OPINION & ORDER

                                     I.     INTRODUCTION

        Plaintiffs IBEW Local No. 58 Annuity Fund, Electrical Workers Pension Trust Fund of

 IBEW Local No. 58, and IBEW Local No. 58 have filed a securities class action complaint

 against Defendants on behalf of all purchasers of EveryWare Global, Inc. (“EveryWare”)

 securities between May 21, 2013 and May 16, 2014, asserting claims under Sections 10(b) and

 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”) and Sections 11, 12, and 15 of

 the Securities Act of 1933 (“Securities Act”). Six Defendants or groups of Defendants have filed

 Motions to Dismiss Plaintiffs’ Amended Complaint on various grounds: Defendants

 Oppenheimer & Co. Inc., CJS Securities, Inc., Telsey Advisory Group, LLC, Imperial Capital,

 LLC and BTIG, LLC (the “Underwriter Defendants”) (Doc. 110); Defendants Daniel Collin,

 Stephen W. Presser, Monomoy Capital Partners, LLC, Monomoy Capital Partners, L.P., MCP

 Supplemental Fund, L.P., Monomoy Executive Co-Investment Fund, L.P., Monomoy Capital

 Partners II, L.P., MCP Supplemental Fund, II, L.P., Monomy General Partner, L.P., Monomoy

 General Partner II, L.P., and Monomoy Ultimate GP, LLC (the “Monomoy Defendants” or,

 without Collin and Presser, the “Monomoy Entities”) (Doc. 111); Defendant John K. Sheppard,

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 former Chief Executive Officer of EveryWare (Doc. 112); Defendant Bernard F. Peters, former

 Chief Financial Officer of EveryWare (Doc. 113); Defendants Thomas J. Baldwin, Barry L.

 Kasoff, Ronald McCray, William Krueger, Joseph A. De Perio, and Ron Wainshal (the “Non-

 Management Directors”) (Doc. 114); and Defendant Michael Jurbala, EveryWare’s Controller

 and Principal Accounting Officer (Doc. 115).

        For the following reasons, the Court GRANTS the six Motions to Dismiss because

 Plaintiffs have not stated a claim for relief under Federal Rule of Civil Procedure 12(b)(6).

                                       II.       BACKGROUND

                                             A. Factual History

        This action concerns a purported “pump and dump” scheme by the Monomoy Defendants

 (a group of New York City-based private equity funds as well as their two principals, Defendants

 Collin and Presser), Sheppard, and Peters to inflate the price of EveryWare Global Inc. stock so

 that the Monomoy Defendants could sell their 15 million shares before the share price

 plummeted. Plaintiffs’ complaint alleges the following facts.

        In March of 2012, Monomoy combined two private kitchenware companies already

 under its control, Oneida, Ltd. and Anchor Hocking LLC, into EveryWare Global Inc., a

 producer, marketer, and distributor of kitchenware. (Am. Compl., Doc. 38 at ¶¶ 56-58.)

 Sheppard served as CEO beginning in April of 2012. (Id. at ¶ 22.) On May 21, 2013,

 EveryWare Global Inc. merged with ROI Acquisition Corp. (“ROI”), a “blank check” company,

 defined as a publicly traded company that raises money to pursue an acquisition of an existing

 company. (Id. at ¶ 59.) After the merger was complete, the Monomoy Defendants were the

 controlling shareholders of the new public company EveryWare (“EveryWare” or “the

 Company”), owning more than 60% of the Company’s common stock. (Id. at ¶ 61.) Under the
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 terms of the merger, the Monomoy Defendants received a $90 million payment and

 approximately 15 million shares of common stock in EveryWare, while ROI’s shareholders

 received about 35% of the shares in the new company. (Id. at ¶ 63; 5/21/13 8-K, Doc. 111-3.)

 These terms were disclosed publicly. (5/21/13 8-K, Doc. 111-3.) Before the merger, EveryWare

 had assets of $320 million and liabilities of $310 million and, after the merger, EveryWare had

 assets of $323 million and liabilities of $382 million. (Am. Compl., Doc. 38 at ¶ 63.)

 EveryWare stock began trading at $10 per share following the merger. (Doc. 111-24.)

         The merger agreement between ROI and EveryWare (“Merger Agreement”) provided

 that shares owned by the Monomoy Defendants were subject to a six month Lock-Up Agreement

 that barred them from selling their shares until November 18, 2013 unless the share price

 exceeded $12.50 for 20 trading days within a 30-trading-day period commencing at least 90 days

 after May 21, 2013 or the Audit Committee of the EveryWare Board waived the lock-up

 restriction. (Am. Compl., Doc. 38 at ¶¶ 65-66; 5/21/13 Form 8-K, Doc. 111-3 at 44.) The

 Merger Agreement also entitled Monomoy to retain up to 3.5 million “earn-out” shares if the

 price of EveryWare stock hit certain targets for 20 trading days in a 30-day trading period: 1

 million shares if the price reached $11; 1.25 million additional shares if it hit $12.50; and 1.25

 million additional shares if it reached $15. (Id. ¶ at 67.) If the price did not hit the targets for at

 least 20 days in a 30-day period, Monomoy would lose the shares. (Id.)

         On January 31, 2013, before the merger with ROI, the former EveryWare publicly issued

 its 2013 revenue and earnings projections. (Id. at ¶ 71.) The company projected annual revenue




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 of $457 million for 2013 as well as an adjusted EBITDA1 of $61.1 million. (Id.) The Company

 also calculated EveryWare’s “Enterprise Value” at approximately $420 million. (Id.) According

 to Plaintiffs, a confidential witness (“CW1”), the Senior Vice President of Sales for Oneida from

 2011 until June 2013 when he left the company, has stated that he was personally involved in the

 formulation of the 2013 projections. (Id. at ¶ 74.) CW1 worked on the 2013 estimates between

 October and December 2012, and along with a coworker he was “responsible for providing

 estimates for one of the largest segments of the Company in terms of its earnings and revenue.”

 (Id. at ¶¶ 75, 76.) CW1 and his coworker formulated their estimates based on the Company’s

 past performance and recent trends. (Id. at ¶ 76.) They discussed their estimates with former

 Chief Financial Officer Andrew Church;2 all three agreed the estimates were reasonable and they

 were ultimately presented to CEO Sheppard. (Id.) Church later told CW1 that Sheppard had

 rejected his 2013 estimates because the sales revenue projection was too low. (Id. at ¶ 77.) CW1

 countered to Church that neither he nor his co-worker thought a higher projection was

 supportable, but Sheppard adopted substantially higher estimates than those that CW1 provided.

 (Id. at ¶¶ 77-78.) CW1 left the company because he was “disgusted” by this incident. (Id. at

 78.) Plaintiffs also stated that CW1 knew that the projections were baseless because Bill

 Grannis, EveryWare’s Senior Vice President for sourcing, informed CW1 that Grannis had been

 instructed to cut his inventories for 2013, which would make it difficult to hit the targeted sales

 numbers that could lead to higher revenue. (Id. at ¶ 79.)




 1
   EBITDA, which stands for “earnings before interest, taxes, depreciation, and amortization,” is a
 commonly reported measure of a company’s pre-tax earnings calculated on a cash basis. (Id. at ¶
 4 n.1.) The Court will use the terms “EBITDA” and “earnings” interchangeably.
 2
   Peters replaced Church as CFO in January 2013. (Id. at ¶ 75.)
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        The amended complaint also states that several other witnesses, including a sales

 manager, a district sales manager, an inventory control manager, a national sales manager, and

 the Director of Finance for EveryWare’s United Kingdom office, attested to a “serious cut back

 in EveryWare’s inventory and a deterioration in EveryWare’s operations.” (Id. at ¶ 83.) The

 confidential witnesses reported: staff reductions, inventory shortages, and declining sales (id. at

 ¶¶ 85-86); information from vendors that EveryWare had begun slowing payments to them

 between June 2013 and September 2013 (id. at ¶ 92); products being “stuck on the docks” due to

 EveryWare’s inability to pay for them (id. at ¶ 94); and a statement to Confidential Witness 7

 (“CW7”), the Director of Finance in the United Kingdom office, from the head of EveryWare

 International, Colin Walker, in November 2013 that there was a lack of capital to pay the

 Company’s debts. (Id. at ¶ 97.) CW7 also stated that in July 2013 it would have been

 “unmistakable” to EveryWare management that the Company was running out of money and in

 danger of defaulting on its debt because of the fact that the nature of the business required

 substantial lead time for orders to be delivered; therefore, the Company would have known that it

 was on the verge of insolvency well in advance of payments becoming due. (Id. at ¶ 98.)

        In January of 2013, Peters became the CFO of EveryWare. (Id. at ¶ 23.)

        In its January 31, 2013 presentation to investors, the Company displayed a chart

 representing the value of its stock in relation to comparable companies, suggesting that its share

 price was a relative bargain. (Id. at ¶ 123.) It also laid out its 2013 financial projections, which

 included predictions of an 8% increase in revenue and a 10% increase in EBITDA over 2012.

 (Id. at ¶ 124.) The investor presentation was incorporated by reference into the first amendment

 to the Registration Statement for the Secondary Offering. (Id. at ¶ 125.)


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        In late May, EveryWare released its financial results from the first quarter of 2013, which

 reflected growth in both revenue and EBITDA. (5/21/13 Form 8-K, Doc. 111-3 at 64.) On

 August 1, 2013, EveryWare disclosed financial results for the second quarter of 2013, reporting

 that revenue for the first six months of 2013 had increased 2.8% over the first six months of 2012

 and that adjusted EBITDA was up 3.4% over that same time period. (Am. Compl., Doc. 38 at ¶

 137.) Sheppard also reported that the results “were in line with our internal expectations” and

 that the “fundamentals and outlook for our business and industry remain strong.” (Id. at ¶ 138.)

 On a conference call with analysts in which Defendants Sheppard and Peters participated,

 Sheppard reaffirmed that EveryWare was “on track to meet our stated financial commitments for

 2013.” (Id. at ¶ 140.) Peters also stated that the Company was “sticking to the numbers that

 we’ve disclosed before” with regard to its EBITDA prediction of $61 million. (Id. at ¶ 145.)

 Sheppard also stated that the revenue estimate may even be low, musing that $460 million might

 be more accurate, and that even that prediction was “an attempt to be conservative.” (Id. at ¶¶

 146-47.) One of the Underwriter Defendants, the Telsey Advisory Group, in recommending a

 target share price of $14, noted in an analyst report that “EveryWare maintained its adjusted

 EBITDA guidance of $61 million and now expects sales to be [approximately] $460 million, $3

 million higher than previously forecast, due to the contribution of the recently announced

 acquisition in the U.K.” (Id. at ¶ 150.)

        The Company’s August 2013 earnings statement noted that its projections “involve a

 number of risks and uncertainties” and that EveryWare’s “actual results or performance may be

 materially different from those expressed or implied by these forward-looking statements.”

 (8/1/13 Form 8-K, Doc. 111-6 at 9.)


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        According to the amended complaint, as an “accounting gimmick” EveryWare included

 $5.9 million in factory expenses as inventories, rather than recognizing them as expenses at the

 time they were incurred, and then waiting until after the Secondary Offering to reveal them as

 expenses in the fourth quarter of 2013. (Id. at ¶¶ 10, 100.) Plaintiffs allege that this accounting

 maneuver was intended to make the Company’s profit margins appear stronger than they were,

 and that once the accounting adjustment was made in the fourth quarter, adjusted EBITDA

 decreased by 113% compared to 2012. (Id. at ¶ 102.) Further, Plaintiffs allege that the

 Company sold products below the cost of production in order to record sales and build up

 revenues, even though its profits were taking a hit, because it would make the Company appear

 strong in the lead-up to the Secondary Offering. (Id. at ¶ 103.) Sheppard’s successor as CEO,

 Sam Solomon, later stated on an April 1, 2014 call with investors that “we recognize that we’re

 selling some things that we don’t make money on. . . . [W]e’re taking the opportunity to stop

 doing that going forward.” (Id. at ¶ 104.) Underwriter Defendants Telsey and Oppenheimer,

 Inc. later noted that the decision to exit some of these product lines led to a sales shortfall and

 weaker financial results than expected. (Id. at ¶ 105.)

        In the three months leading up to the Secondary Offering, EveryWare’s stock was trading

 at an average daily closing price of $12.68. (Doc. 118, Ex. 4.) Meanwhile, the Company was

 preparing for the Secondary Offering. On June 17, 2013, EveryWare filed a Form S-3

 Registration Statement (“Registration Statement”) with the Securities and Exchange Commission

 (“SEC”) in which it announced its intent to sell 21,313,334 shares of EveryWare common stock,

 more than 15 million of which would be sold by the Monomoy Defendants, comprising all of the

 Monomoy Defendants’ shares. (Am. Compl., Doc. 38 at ¶ 107.) Defendant Sheppard also

 announced his intent to sell 8,171 shares. (Id.) On August 13, 2013, the Company filed an
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 amendment to the Registration Statement, reducing the number of shares it intended to sell to 6.5

 million, 5.1 million of which would be sold by the Monomoy Defendants and 2,763 by

 Sheppard. (Id. at ¶ 108.) The Company filed another amendment on September 3, 2013, slightly

 revising its target number of shares to sell, and on September 9, 2013, the SEC granted

 EveryWare and the selling stockholders the right to conduct the Secondary Offering. (Id. at ¶

 109.)

         On September 12, 2013, the Company announced both that it would sell 4 million shares

 of common stock in the Secondary Offering and that the Audit Committee had waived the lock-

 up restrictions to permit the Monomoy Defendants to sell their stock. (Id. at ¶ 110.) On

 September 16, 2013, EveryWare released the Prospectus for the Secondary Offering, providing

 for an initial sale of 1.75 million shares at a price of $11.50 per share. (Id. at ¶ 159.) The

 Monomoy Defendants sold just under 1.7 million shares of common stock in the Secondary

 Offering, approximately 90% of the shares sold in the Secondary Offering. (Id. at ¶ 115.) The

 sales by the Monomoy Defendants, after payment of fees and costs to Underwriter Defendants,

 totaled approximately $18.5 million. After the Secondary Offering, the Monomoy Entities

 continued to hold about 60% of EveryWare’s common stock. (Id. at ¶ 35.) Neither Sheppard

 nor Peters sold any stock in the Secondary Offering. (9/16/13 Prospectus, Doc. 111-11 at 91.)

 As of September 11, 2013, Sheppard owned 40,691 shares of common stock and Peters owned

 100 shares. (Id.)

         Three weeks after the Secondary Offering, Kerri Love, EveryWare’s Chief

 Administrative Officer and General Counsel, was fired. (Am. Compl., Doc. 38 at ¶ 111.)

 According to a complaint filed by former EveryWare employee Michael Stewart, Love had

 complained to top managers, including Peters, about inaccurate financial disclosures and
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 threatened to report her discovery to the SEC. (Id. at ¶¶ 112-13.) Stewart was tasked with

 investigating Love’s records. (Id. at ¶ 112.) Love eventually entered a confidential separation

 agreement with the Company. (Id. at ¶ 113.) After she was fired, Stewart was eventually

 terminated as well, which he characterized as retaliatory. (Id. at ¶ 114.)

        Plaintiffs allege that the Registration Statement, which incorporated by reference the

 earlier 2013 projections from the Company’s Forms 8-K, was false and misleading because it

 failed to disclose that the Company was in the midst of collapse and had essentially run out of

 money. (Id. at ¶ 155.) Further, Plaintiffs claim that the Registration Statement omitted the

 following material trends and conditions: (1) that the Merger Transaction had stripped

 EveryWare of its capital to such a degree as to render it insolvent and unable to pay suppliers; (2)

 that the Monomoy Defendants and Sheppard imposed draconian cost reductions, which led to

 inventory shortages, alienated longtime customers, and impaired the Company’s ability to retain

 its existing business and increase revenues; (3) that Company management did not believe the

 2013 revenues and earnings projections; (4) that EveryWare was selling products at negative

 profits in order to boost revenue artificially; and (5) that EveryWare had improperly failed to

 recognize certain already incurred factory costs as expenses and instead capitalized them to

 inventory in violation of the Company’s accounting policies. (Id. at ¶ 158.)

        The Final Prospectus accompanying the Secondary Offering incorporated by reference a

 draft agreement between the underwriters and selling shareholders, including Monomoy, which

 provided that “[t]he sale of Shares by each Selling Stockholder pursuant to this Agreement is not

 prompted by such Selling Stockholder’s knowledge of any material information concerning the

 Company or any of its subsidiaries which is not set forth in the Prospectus.” (Id. at ¶ 156.) The

 Agreement also contained a statement that no selling shareholder would take any action that
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 would reasonably be expected to result in the stabilization or manipulation of the price of any

 security of the Company to facilitate the sale or resale of shares. (Id. at ¶ 157.) Plaintiffs allege

 that these statements were false and misleading because the Monomoy Defendants knew that

 they had stripped EveryWare of its capital and strangled it of the resources it needed to survive,

 and had also taken a number of steps to manipulate the price of the stock. (Id. at ¶¶ 156, 157.)

        On October 30, 2013, EveryWare released its third quarter financial results. (Id. at ¶

 164.) Based on a reported loss of $1.1 million for the third quarter of 2013, the Company

 revised its expected revenues from $460 million to $445-455 million and its expected EBITDA

 from $61 million to $55-57 million. (Id.) On a call with investors that same day, Peters stated

 that the declining profits were caused by a drop in sales in the highly profitable food service

 division of the company. (Id.) Later that day, three of the Underwriter Defendants issued

 analyst reports dropping the target price for the stock to $13 from previously issued target prices

 of $14 or $15. (Id. at ¶ 165.) The share price on the market plummeted from $19.00 on October

 29, 2013 to $8.36 on November 1. 2013. (Id. at ¶ 166.) On November 19, 2013, one of the

 underwriters, Oppenheimer & Co., opined that EveryWare’s management had a “meaningful

 credibility deficit” among investors. (Id. at ¶ 167.)

        On February 25, 2014, Sheppard resigned as CEO and the Board of Directors replaced

 him with Sam Solomon. (Id. at ¶¶ 14, 168.) The stock price dropped from $7.58 to $5.45 from

 February 24, 2014 to February 26, 2014. (Id. at ¶ 168.) Oppenheimer wrote in its analyst report

 that it was “blindsided” by the announcement and again reduced its rating, criticizing the

 company’s “execution” and noting “a distinct lack of visibility into the company’s strategy.” (Id.

 at ¶ 169.) On March 5, 2014, EveryWare announced that it was postponing its fourth quarter and


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 full-year 2013 earnings release, triggering a further decline in the share price from $5.46 to

 $4.07. (Id. at ¶ 170.)

        On March 31, 2014, the Company belatedly issued those results, reporting total revenue

 of $439.8 million for 2013 and adjusted EBITDA of $51.5 million. (Id. at ¶ 171.) These

 numbers were significantly below the original 2013 projections of $457 million in revenue and

 $61.1 million in earnings. By May 14, 2014, the stock had fallen to $1.40 per share. (Id.)

        On May 15, 2014, EveryWare announced a net loss for the first quarter of 2014 of $38.4

 million, compared to a net income of $0.2 million for the first quarter of 2013. (Id. at ¶ 172.)

 The Company further announced that it was in default on its financial debt covenants in its loan

 agreements with banks, and that it would require an infusion of $18.7 million in additional

 capital to cure the default. (Id.) The Company announced the temporary closing of two factories

 and a mass layoff, as well as decreases in net sales, along with significant decreases in revenue

 across all but the international segment of the business. (Id. at ¶ 173.)

        By the next day, the share price reached an all-time low of $0.94/share. (Id. at ¶ 175.)

 On April 7, 2015, EveryWare filed for bankruptcy. (Id. at ¶ 176.)

                                         B. Procedural History

        Plaintiffs filed a class action complaint in this Court on October 7, 2014. (Doc. 1.) The

 original complaint named EveryWare, Sheppard, Peters, and current EveryWare CEO Solomon

 as Defendants. (Id. at ¶¶ 11-14.) Plaintiffs asserted causes of action for violations of Section

 10(b) of the Exchange Act and Rule 10b-5 against all Defendants and violations of Section 20(a)

 of the Exchange Act against Sheppard, Peters, and Solomon. (Id. at ¶¶ 42-54.)

        Plaintiffs filed an amended class action complaint on May 15, 2015. (Doc. 38.) The

 amended complaint added the Monomoy Defendants, the Non-Management Director
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 Defendants, and the Underwriter Defendants. (Id. at ¶¶ 22-53.) The amended complaint

 includes the following counts, the third, fourth, and fifth of which were new:

           Count I for violation of Section 10(b) of the Exchange Act and Rule 10b-5 against
            Sheppard, Peters, and the Monomoy Defendants;

           Count II for violation of Section 20(a) of the Exchange Act against Sheppard, Peters,
            and the Monomoy Defendants;

           Count III for violations of Section 11 of the Securities Act of 1933 against Sheppard,
            Peters, Collin, Presser, Jurbala, the Non-Management Director Defendants, and the
            Underwriter Defendants;

           Count IV for violations of Section 12(a)(2) of the Securities Act of 1933 against
            Sheppard, Peters, Collin, Presser, Jurbala, the Non-Management Director Defendants,
            and the Underwriter Defendants;

           Count V for violation of Section 15 of the Securities Act of 1933 against Sheppard,
            Peters, and the Monomoy Defendants.

 (Id. at ¶¶ 190-225.) Plaintiffs seek compensatory damages for all class members, including

 interest, and attorneys’ fees and costs. (Id. at 75-76.) Plaintiffs assert no claims against

 EveryWare in the amended complaint because it is currently in bankruptcy proceedings in the

 United States Bankruptcy Court for the District of Delaware and, therefore, subject to the

 automatic stay under 11 U.S.C. § § 362(d)(1). (Id. at ¶ 21.)

        All Defendants all moved to dismiss the complaint under Federal Rule of Civil Procedure

 12(b)(6) for failure to state a claim: the Underwriter Defendants (Doc. 110), the Monomoy

 Defendants (Doc. 111), Defendant Sheppard (Doc. 112), Defendant Peters (Doc. 113), the Non-

 Management Director Defendants (Doc. 114), and Defendant Michael Jurbala (Doc. 115). The

 motions are fully briefed and ripe for review.




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                                    III.    STANDARD OF REVIEW

         The Court may dismiss a cause of action under Federal Rule of Civil Procedure 12(b)(6)

 for “failure to state a claim upon which relief can be granted.” Such a motion “is a test of the

 plaintiff’s cause of action as stated in the complaint, not a challenge to the plaintiff’s factual

 allegations.” Golden v. City of Columbus, 404 F.3d 950, 958-59 (6th Cir. 2005). Thus, the

 Court must construe the complaint in the light most favorable to the non-moving party. Total

 Benefits Planning Agency, Inc. v. Anthem Blue Cross & Blue Shield, 552 F.3d 430, 434 (6th Cir.

 2008). The Court is not required, however, to accept as true mere legal conclusions unsupported

 by factual allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Generally, a complaint must

 contain a “short and plain statement of the claim showing that the pleader is entitled to relief.”

 Fed. R. Civ. P. 8(a)(2). The allegations need not be detailed but must “give the defendant fair

 notice of what the claim is, and the grounds upon which it rests.” Nader v. Blackwell, 545 F.3d

 459, 470 (6th Cir. 2008) (quoting Erickson v. Pardus, 551 U.S. 89, 93 (2007)). In short, a

 complaint’s factual allegations “must be enough to raise a right to relief above the speculative

 level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). It must contain “enough facts

 to state a claim to relief that is plausible on its face.” Id. at 570.

         With regard to Plaintiffs’ claims sounding in fraud, Plaintiffs must also satisfy Federal

 Rule of Civil Procedure 9(b). Rule 9(b) requires that “in any complaint averring fraud or

 mistake, the circumstances constituting fraud or mistake shall be stated with particularity.”

 Yuhasz v. Brush Wellman, Inc., 341 F.3d 559, 563 (6th Cir. 2003) (quoting Fed. R. Civ. P. 9(b)).

 The requirement “reflects the rulemakers’ additional understanding that, in cases involving fraud

 and mistake, a more specific form of notice is necessary to permit a defendant to draft a

 responsive pleading.” United States ex rel. SNAPP, Inc. v. Ford Motor Co., 532 F.3d 496, 504
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 (6th Cir. 2008) (internal quotation marks omitted). The Sixth Circuit has explained that to

 satisfy Rule 9(b), a plaintiff must at a minimum “allege the time, place, and content of the

 alleged misrepresentation” as well as “the fraudulent scheme; the fraudulent intent of the

 defendants; and the injury resulting from the fraud.” Bennett v. MIS Corp., 607 F.3d 1076, 1100

 (6th Cir. 2010) (internal citations omitted). Plaintiffs may plead fraud based “upon information

 and belief,” but the complaint “must set forth a factual basis for such belief, and the allowance of

 this exception must not be mistaken for license to base claims of fraud on speculation and

 conclusory allegations.” Sanderson v. HCA-The Healthcare Co., 447 F.3d 873, 878 (6th Cir.

 2006) (internal quotation marks omitted). In its analysis, the Court will address which claims

 sound in fraud and, therefore, must satisfy the more stringent requirements of Rule 9(b).

                                          IV.     ANALYSIS

        Defendants move for dismissal of all of Plaintiffs’ claims. First, they assert that

 Plaintiffs’ claims under Section 10(b) of the Securities Act (Count I) must be dismissed because

 Plaintiffs have not pleaded a materially false or misleading statement or omission attributable to

 any Defendant or, in the alternative, have not properly pleaded scienter or loss causation. (Doc.

 111 at 18.) Second, they argue that Defendants’ claims under Sections 11 and 12(a)(2) of the

 Securities Act (Counts III and IV) are barred by the applicable statute of limitations and,

 alternatively, because Plaintiffs lack statutory standing under both Sections 11 and 12(a)(2).

 (Id.) In the alternative, they contend that the Section 11 and 12(a)(2) claims fail because

 Plaintiffs have not alleged any materially false or misleading statements or omissions in the

 Registration Statement or the Prospectus. (Id.) Finally, they contend that Plaintiffs’ “control

 person” claims under both Section 20(a) of the of the Exchange Act (Count II) and Section 15 of

 the Securities Act (Count V) are facially deficient because: (1) they do not plead a primary
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 violation of either statute by a “controlled person”; and (2) they do not allege sufficient facts to

 plead that the allegedly “controlling” Defendants were sufficiently involved in the challenged

 statements. (Id.) The Court will address each argument in turn.

        As a preliminary matter, the Court grants Defendants’ request to take judicial notice of

 public documents, including documents filed with the SEC, attached to their various motions to

 dismiss. In ruling on a motion to dismiss, the Court “may consider materials in addition to the

 complaint if such materials are public records or are otherwise appropriate for the taking of

 judicial notice.” New England Health Care Employees Pension Fund v. Ernst & Young, LLP,

 336 F.3d 495, 501 (6th Cir. 2003). In ruling on a motion to dismiss in a securities fraud case, the

 Court “may consider the full text of the SEC filings, prospectus, analysts' reports and statements

 integral to the complaint, even if not attached, without converting the motion into one for

 summary judgment” under Federal Rule of Civil Procedure 56. Bovee v. Coopers & Lybrand

 C.P.A., 272 F.3d 356, 360-61 (6th Cir. 2001) (internal quotation marks omitted). The Court may

 take judicial notice of such documents, however, “only to the extent that their ‘existence or

 contents prove facts whose accuracy cannot be reasonably questioned.’” Beaver Cnty. Ret. Bd.

 V. LCA-Vision Inc., No. 1:07-CV-750, 2009 WL 806714, at *4 (S.D. Ohio Mar. 25, 2009)

 (quoting Passa v. City of Columbus, 123 F. App’x 694, 697 (6th Cir. 2005)).

                                        A. Section 10(b) Claims

        Section 10(b) of the Securities Exchange Act of 1934 forbids (1) the “use or

 employ[ment] . . . of any . . . deceptive device,” (2) “in connection with the purchase or sale of

 any security,” and (3) “in contravention of” Securities and Exchange Commission “rules and

 regulations.” 15 U.S.C. § 78j(b). Commission Rule 10b-5 forbids, among other things, the

 making of “any untrue statement of a material fact” or the omission of any material fact
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 “necessary in order to make the statements made . . . not misleading.” 17 C.F.R. § 240.10b-5(b).

 See Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 341 (2005). Plaintiffs’ Section 10(b) and Rule

 10b-5 claims are subject to the particularity pleading requirements of Rule 9(b), which, in the

 context of an Exchange Act claim, require a plaintiff to specify the fraudulent statements,

 identify the speaker, state where and when the statements were made, and explain why the

 statements were fraudulent. Frank v. Dana Corp., 547 F.3d 564, 569-70 (6th Cir. 2008) (citation

 omitted). Plaintiffs must also allege the time, place, and contents of the misrepresentation. Id. at

 570. Further, the Private Securities Litigation Reform Act of 1995 (“PSLRA”) requires that in a

 private claim of securities fraud under the Exchange Act, a plaintiff must “specify each statement

 alleged to have been misleading, the reason or reasons why the statement is misleading, and, if

 any allegation regarding the statement or omission is made on information and belief, the

 complaint shall state with particularity all facts on which that belief is formed.” 15 U.S.C. §

 78u-4(b)(1). A plaintiff must also “state with particularity facts giving rise to a strong inference

 that the defendant acted with the required state of mind.” 15 U.S.C. § 78u-4(b)(2). In other

 words, the PSLRA requires plaintiffs “to state with particularity both the facts constituting the

 alleged violation, and the facts evidencing scienter, i.e., the defendant’s intention ‘to deceive,

 manipulate or defraud.’” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313 (2007)

 (quoting Ernst & Ernst v. Hochfelder, 425 U.S. 185, 194 (1976)).

        In cases involving publicly traded securities, the essential elements of an action under

 Section 10(b) and Rule 10b-5 can be summarized as: (1) a material misrepresentation or

 omission; (2) scienter, that is, a wrongful state of mind; (3) a connection with the purchase or

 sale of a security; (4) reliance; (5) economic loss; and (6) loss causation, a causal connection

 between the misrepresentation and the loss. Dura, 544 U.S. at 341-42. Defendants argue that
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 Plaintiffs’ Section 10(b) claim must be dismissed because Plaintiffs have: (1) not alleged any

 materially false or misleading statements or omissions; (2) failed to state facts giving rise to an

 inference of scienter; and (3) failed to plead loss causation. (Doc. 111 at 42-59.) They do not

 dispute that Plaintiffs can establish the other elements of a Rule 10(b) claim, and the Court

 agrees that Plaintiffs have sufficiently pleaded facts to support the third, fourth, and fifth

 elements of a Section 10(b) claim.

        The Court will first determine whether Plaintiffs have properly pleaded any actionable

 false or misleading statements. Plaintiffs have identified the following allegedly false and

 misleading statements: (1) the 2013 earnings and revenue projections; (2) misleading statements

 from the Monomoy Defendants and Sheppard that EveryWare was being priced at a discount

 compared to comparable companies; and (3) statements by Sheppard, Peters, and the Monomoy

 Defendants that the company remained “on track” to meet the 2013 projections.

                                         1. The 2013 Projections

        The parties do not dispute that revenue and earnings projections are generally considered

 “forward-looking” within the meaning of the PSLRA. See 15 U.S.C. § 78u-5(i)(1) (“The term

 ‘forward-looking statement’ means . . . a statement containing a projection of revenues, income

 (including income loss), earnings (including earnings loss) per share, capital expenditures,

 dividends, capital structure, or other financial items.”) Ordinarily, the maker of such a forward-

 looking statement is protected from liability for that statement under the PSLRA safe-harbor

 provision. 15 U.S.C. § 78u-5(c)(1). The safe harbor does not apply, however, if: “the statement

 was material; if defendants had actual knowledge that it was false or misleading; and if the

 statement was not identified as ‘forward-looking’ or lacked meaningful cautionary statements.”

 Helwig v. Vencor, 251 F.3d 540, 548 (6th Cir. 2001) (en banc), overruled on other grounds by
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 Tellabs, 551 U.S. at 314 (citing 15 U.S.C. § 78u-5(c)(1)). The parties dispute whether

 Defendants had actual knowledge that the 2013 projections were false or misleading and, if they

 did, whether the forward-looking statement lacked meaningful cautionary statements.

        Plaintiffs contend that they have shown that Sheppard and Monomoy had actual

 knowledge of the falsity of the 2013 projections because Sheppard “disregard[ed] the views of

 EveryWare’s senior finance officials in issuing 2013 projections that were ‘substantially higher’

 than what they recommended and without disclosing to investors the dissenting views of these

 officials.” (Doc. 118 at 27.) Plaintiffs contend that the statements they have identified are

 actionable because they do not “fairly align[] with the information in the issuer’s possession at

 the time” and were not based on a “meaningful . . . inquiry.” Omnicare, Inc. v. Laborers Dist.

 Council Const. Indus. Pension Fund, 135 S. Ct. 1318, 1328-29 (2015) (noting that a plaintiff can

 state a Section 11 omissions claim “if a registration statement omits material facts about the

 issuer’s inquiry into or knowledge concerning a statement of opinion, and if those facts conflict

 with what a reasonable investor would take more the statement itself”). In support of this

 contention, Plaintiffs point to the statements of CW1, which they contend indicate that three

 EveryWare senior officials responsible for the 2013 projections all agreed with the original

 revenue projection they submitted to Sheppard, who overruled it and mandated a projection that

 was “substantially higher.” (Am. Compl., Doc. 38 at ¶¶ 76-77.) Because the statements

 Sheppard rejected were formulated based on EveryWare’s past performance and the projections

 that were ultimately used were not, Plaintiffs contend that they were not based on a meaningful

 inquiry or fairly aligned with the information in EveryWare’s possession. (Doc. 118 at 38.)

        Confidential witnesses “may assist securities fraud plaintiffs . . . so long as they are not

 vague and conclusory.” Local 295/Local 851 IBT Emp’r Grp. Pension Tr., 731 F. Supp. 2d 689,
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 721 (S.D. Ohio 2010) (citing Ley v. Visteon Corp., 543 F.3d 801, 811 (6th Cir. 2008), abrogated

 on other grounds by Matrixx Initiatives, Inc. v. Siracusano, 131 S. Ct. 1309, 1323-25 (2011)).

 The complaint must allege that the confidential witnesses were in a position “to establish their

 basis of knowledge of the alleged misconduct (‘what, when, where, and how’) and they must

 establish that the defendants were aware of the misconduct.” Id. (quoting Ley, 543 F.3d at 811);

 see, e.g., Ricker v. Zoo Entertainment, Inc., 534 F. App’x 495, 496 n. 2 (6th Cir. 2013) (“Witness

 3’s employment in [the defendant’s] accounting department positioned her to learn of the facts

 now alleged.”). The Sixth Circuit has said that “generalized statements cannot substitute for

 specific facts through which a factfinder can strongly infer that the Defendants themselves knew

 of or recklessly disregarded the falsity of the earnings statements, especially because the majority

 of the Confidential Witnesses are not identified as having any contact or interaction with any of

 the Defendants.” Konkol v. Diebold, Inc., 590 F.3d 390, 401 (6th Cir. 2009), abrogated on other

 grounds by Matrixx Initiatives, 131 S. Ct. at 1323-25). Plaintiffs further contend that they have

 pleaded with particularity that CW1 was in a position to know the facts attributed to him because

 he was one of three senior officials responsible for preparing the 2013 projections and regularly

 worked with Sheppard and then-CFO Church. (Doc. 118 at 28.)

        CW1 was a Senior Vice President of Sales at EveryWare until June 2013. (Am. Compl.,

 Doc. 38 at ¶ 74.) The complaint alleges that he and a co-worker worked on the formulation of

 the 2013 projections between October and December 2012, and that, in particular, he was

 “responsible for providing estimates for one of the largest segments of the Company in terms of

 its earnings and revenue.” (Id. at ¶¶ 75-76.) He and his coworker discussed their estimates with

 then-CFO Church, and all three individuals agreed that the estimates were reasonable and should

 be presented to Sheppard. (Id. at ¶ 76.) Church then told CW1 that Sheppard had rejected the
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 2013 estimates because he wanted a higher sales revenue projection, to which CW1 responded

 that he did not think a higher number was realistic. (Id. at ¶ 77.) According to the complaint,

 CW1 also states that his coworker thought that the 2013 projections were in “fantasyland” but

 does not state whether the coworker shared this information with anyone but CW1. (Id. at ¶ 78.)

 Additionally, the complaint describes a conversation between CW1 and Bill Grannis,

 EveryWare’s senior vice president for sourcing, in which Grannis told CW1 that EveryWare

 management had instructed him to cut inventories in 2013 and that, according to Grannis, it

 would be difficult to meet sales goals with lower inventory. (Id. at ¶ 79.) Finally, the complaint

 recounts CW1’s statement that he had two conversations with Defendant Collin, on unspecified

 dates in 2012 and 2013, to discuss sales and that Collin was “not interested” in making any

 improvements to EveryWare’s operations that could increase revenue. (Id. at ¶ 80.)

        These statements do not suffice to show that Sheppard (or Peters, who was not yet CFO

 during the time that CW1 was involved in the formulations of the projections) had actual

 knowledge that the projections were false or misleading. First of all, there is no allegation that

 CW1 or his coworker ever talked directly to Sheppard or that Church conveyed their statements

 to Sheppard. Second, there is no indication that Church ever told Sheppard he thought the new

 projections were unreasonable or misleading in any way, or that Grannis or anyone else ever told

 Sheppard that they believed insufficient inventory would make the sales goals unachievable.

 Third, the complaint states that CW1 was responsible for sales figures in “one of the largest

 segments of the Company,” which presumably indicates that other senior officials in other

 segments of EveryWare also had input into the formulation of the projections, but Plaintiffs

 allege no facts about the recommended projections of other officials or about the process

 Sheppard used to craft the final overall projections. The facts Plaintiffs do offer regarding CW1
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 do not suggest how much of a role CW1 actually had in formulating the Company’s overall 2013

 projections. And finally, there are no numbers behind CW1’s contentions; he does not state what

 his initial recommended projection was, so the size of the discrepancy between his

 recommendation and the final 2013 projections is unknown.

        The complaint, therefore, fails to show actual knowledge on many levels. A plaintiff

 “must identify particular (and material) facts going to the basis for the [defendant’s] opinion—

 facts about the inquiry the [defendant] did or did not conduct or the knowledge it did or did not

 have—whose omission makes the opinion statement at issue misleading to a reasonable person.”

 Omnicare, 135 S. Ct. at 1332. Even if Sheppard did have knowledge of CW1’s disagreement,

 this fact would be insufficient to show that he had knowledge that the 2013 projections were

 false or misleading. See id. at 1329 (noting that an opinion statement is not necessarily

 misleading when an issuer knows, but fails to disclose, a fact cutting against the opinion even if

 the opinion is later proven incorrect because “[a] reasonable investor does not expect that every

 fact known to an issuer supports its opinion statement.”); Yellen v. Hake, 437 F. Supp. 2d 941,

 954 (S.D. Iowa 2006) (holding that the fact that management discussed lower possible forecasts

 “does not amount to an allegation that Defendants did not reasonably believe” the forecasts they

 ultimately made).

        Plaintiffs simply cannot show through CW1’s statements—none of which was made

 directly to Sheppard or any other Monomoy Defendant, see Konkol, 590 F.3d at 401—that the

 2013 projections did not “fairly align[] with the information in the issuer’s possession at the

 time” and were not based on a “meaningful . . . inquiry,” Omnicare, 135 S. Ct. at 1328-29. Nor

 do Plaintiffs plausibly allege that Sheppard knew that the 2013 projections were false when he

 later relied on them in statements that he made after the company went public in May 2013.
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 There are no allegations in the complaint, from confidential witnesses or otherwise, that anyone

 made any statements to Sheppard or other Monomoy Defendants about the projections or the

 bases for the projections. Because the 2013 projections were forward-looking statements and

 Plaintiffs have not shown that Defendants had actual knowledge of their falsity, such statements

 are protected by the PSLRA safe harbor.

                       2. Statements Regarding the Value of EveryWare Stock

        In the January 31, 2013 investor presentation, EveryWare pegged the Company’s

 enterprise value at $420.5 million and characterized EveryWare’s stock as an “attractive

 valuation” because its enterprise value was only 6.9 times expected 2013 earnings, as compared

 to other similar companies whose enterprise values were 8.1 times their expected 2013 earnings.

 (Am. Compl., Doc. 38 at ¶ 123.) Therefore, its share price, which is commonly calculated using

 enterprise value and expected earnings, would seem to be a relative bargain. (Id.) The investor

 presentation, including statements about the enterprise value, were later incorporated by

 reference in SEC filings on June 11, 2013 and September 16, 2013. Plaintiffs contend that

 because the statements regarding the stock’s value were premised on false and misleading 2013

 projections, these statements were also misleading. The parties do not dispute that these

 statements were not forward-looking, and thus not protected by the safe harbor, so the Court will

 analyze whether these statements were false or misleading and whether Plaintiffs have

 sufficiently alleged with particularity the facts on which their belief was formed. See 15 U.S.C.

 § 78u-4(b)(1).

        Plaintiffs have not met their burden because: (1) the calculation of the enterprise value

 was not derived from the 2013 projections and; (2) Defendants fully disclosed how it was

 calculated and why they believed the stock was an attractive valuation. In its January 31, 2013
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 investor presentation, EveryWare disclosed the simple formula it used to calculate enterprise

 value: its pro forma shares outstanding (17.6 million) multiplied by an estimated share price of

 $10,3 plus the company’s pro forma net debt ($244 million). (1/31/13 Investor Presentation,

 Form 8-K, Doc. 111-1 at 46.) The definition of enterprise value, as stated in the investor

 presentation, is “equity value plus total debt and minority interest, less cash and equivalents,” (id.

 at 51), and Plaintiffs make no contention that this is an incorrect definition of enterprise value or

 that the enterprise value was incorrectly calculated. To the extent that they argue that the

 Company did not disclose that its debts exceeded the value of its assets after the merger and the

 $90 million payout to Monomoy, this is incorrect because the enterprise value clearly stated that

 its debt ($244 million) outweighed its pro forma equity value ($175.6 million, the value of the

 pro forma shares outstanding multipled by the share price of $10). (Id. at 46.) The Court finds

 that the Plaintiffs have not alleged an actionable false or misleading statement with regard to the

 value of the Company’s stock.

             3. Statements that EveryWare Remained “On Track” to Meet Its Projections

                                           a. False or Misleading

        Plaintiff next points to statements from Sheppard and Peters, as well as statements that it

 attributes to the Monomoy Entities4, that EveryWare remained “on track to meet [its] stated


 3
   The $10 figure was derived from the ROI initial public offering share price. (See Am. Compl.,
 Doc. 38 at ¶ 72.)
 4
   Although they do not discuss it in their opposition brief, in the complaint Plaintiffs also allege
 that Collin made a false and misleading statement when he said on an investor call regarding the
 merger with ROI on February 1, 2013: “We believe in the business, we believe in its people and
 we believe in the future growth of the organization. We also believe that the structure of the
 transaction we are discussing today aligns the interests of all parties involved . . . .” (Am.
 Compl., Doc. 38 at ¶ 126.) This statement is likely forward-looking, and even if it is not, this
 falls outside of the realm of actionable misstatements because it is “a certain kind of rosy
 affirmation commonly heard from corporate managers and numbingly familiar to the
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 financial commitments for 2013.” (Id. at ¶ 140.) Sheppard made this statement on the second

 quarter 2013 earnings call on August 1, 2013, Peters made a similar statement on that call, and

 EveryWare made a similar representation in an August 1, 2013 press release. (Id. at ¶¶ 146-47,

 145, 138.)

        Some courts have labeled statements that a company was “on track” or “still going

 strong” to meet its revenue projections as statements that are “not forward-looking but

 statements relating to current conditions.” Mulligan v. Impax Labs., Inc., 36 F. Supp. 3d 942,

 964 (N.D. Cal. 2014); see also Makor Issues & Rights, Ltd. v. Tellabs Inc., 513 F.3d 702, 705

 (7th Cir. 2008); IBEW Local 98 Pension Fund v. Best Buy Co., Inc., 958 F. Supp. 2d 1065, 1076

 (D. Minn. 2013). Having reviewed all of the statements Sheppard and Peters made on the

 earnings call, the Court agrees that the statements that the company was “on track” to meet

 revenue projections related to the Company’s then-current conditions, and now turns to whether

 these statements were false or misleading. For instance, Sheppard stated that “the business

 continues to perform well in line with our internal expectations, and we remain on track to meet

 our stated financial commitments for 2013,” citing the increases in total reported revenue and

 EBITDA for the first six months of 2013. (Am. Compl., Doc. 38 at ¶ 140.) He also represented

 that the company’s “top-line growth,” which was historically between 5 to 7%, would increase to

 8% “as a result of all the initiatives we’ve put in place.” (Id. at ¶ 145.) The Court finds that

 these are statements relating to current condition because they encompass statements of present

 fact even if they also represent future predictions. See In re Nortel Networks Corp. Sec. Litig.,

 238 F. Supp. 2d 613, 629 (S.D.N.Y. 2003) (holding that “even when an allegedly false statement

 marketplace—loosely optimistic statements that are so vague, so lacking in specificity, or so
 clearly constituting the opinions of the speaker, that no reasonable investor could find them
 important.” Ind. State Dist. of Laborers v. Omnicare, Inc., 583 F.3d 935, 944 (6th Cir. 2009).
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 has both a forward-looking aspect and an aspect that encompasses a representation of present

 fact, the safe harbor provision of the PSLRA does not apply”). Therefore, the Court finds that

 these statements are not protected by the safe harbor.

        Plaintiffs contend that these statements that the 2013 projections were on track were

 misleading because: (1) by August 2013 EveryWare had essentially run out of money and was

 forced to leave shipments from vendors sitting on the docks due to the Company’s inability to

 pay for them (Am. Compl., Doc. 38 at ¶¶ 92-94); (2) most of the Company’s orders for the end

 of 2013 had already been placed by this time, so they would have known that they were unlikely

 to meet their optimistic projections (id. at ¶ 98); (3) EveryWare’s reported results as of August 1,

 2013 were inflated by accounting manipulations designed to hide $5.9 million in factory costs

 (id. at ¶¶ 99-102); and (4) EveryWare sold products for less than the cost of production so that

 they could achieve their revenue projections, which ultimately cost them earnings and shows the

 extent to which Defendants inflated the stock price. (Id. at ¶¶ 103-05.)

                                                 b. Scienter

        Ultimately, however, even though the Plaintiffs have pointed to statements regarding

 current conditions that Sheppard, Peters, and EveryWare made on August 1, 2013 that are not

 entitled to the PSLRA safe harbor, Plaintiffs cannot survive the motion to dismiss because they

 fail plausibly to allege scienter. The PSLRA requires that the complaint “state with particularity

 facts giving rise to a strong inference that the defendant acted with the required state of mind.”

 15 U.S.C. § 78u-4(b)(2). The required state of mind for a Section 10(b) claim, scienter, is “a

 mental state embracing intent to deceive, manipulate or defraud.” Tellabs, 551 U.S. at 319

 (internal quotation marks and citation omitted). The Supreme Court has defined “strong

 inference” to require courts to consider not only inferences urged by the plaintiff “but also
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 competing inferences rationally drawn from the facts alleged.” Id. at 314. Further, an inference

 of scienter need not be the “most plausible of competing inferences,” but it “must be more than

 merely reasonable or permissible.” Id. at 324 (internal quotation marks omitted). In sum, it must

 be “cogent and at least as compelling as any opposing inference one could draw from the facts

 alleged.” Id. Finally, the proper inquiry for the Court in evaluating allegations of scienter is

 “whether all of the facts alleged, taken collectively, give rise to a strong inference of scienter, not

 whether any individual allegation, scrutinized in isolation, meets that standard.” Id. at 322-23;

 see also Frank v. Dana Corp., 646 F.3d 954, 961 (6th Cir. 2011) (“Our former method of

 reviewing each allegation individually before reviewing them holistically risks losing the forest

 for the trees. Furthermore, after Tellabs, conducting an individual review of myriad allegations

 is an unnecessary inefficiency. Consequently, we will address the Plaintiffs’ claims

 holistically.”).

         Defendants contend that Plaintiffs have failed to plead scienter because: (1) the alleged

 scheme makes no sense as a motive for fraud, given that the Monomoy Defendants stood to lose

 much more financially from the demise of EveryWare than they stood to gain from selling the

 stock at an inflated price; (2) the so-called Helwig factors that are indicative of scienter militate

 against such an inference; (3) the allegations regarding the Company’s development of its 2013

 projections do not create any basis for inferring scienter; and (4) the remaining allegations

 related to inventory accounting and other matters fail to identify any impropriety. (Doc. 111 at

 47.)

         Plaintiffs put forward the following theory as to scienter, which the Court will consider

 holistically, taking all of Plaintiffs’ factual allegations into account. They allege that Sheppard

 was aware that the Company was running out of money because he was involved on an
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 operational level in formulating the projections and tracking the revenue and earnings figures.

 Plaintiffs further rely on the temporal proximity between Sheppard’s “on track” statements on

 August 1, 2013 and the “actual disastrous year-end results.” (Doc. 118 at 39.) Further, the

 alleged accounting improprieties, including those cited by former General Counsel Love, and the

 fact that EveryWare was selling products for less than the cost of production, should have been

 enough for Sheppard to infer that the Company was running out of money. Finally, the fact that

 there is a long “lead time” for EveryWare’s orders allows an inference that sales figures would

 have been down by August 1, 2013, due to a decreased number of orders for the end of the 2013,

 so top executives would have known the Company was in trouble. Although Sheppard sold no

 shares in the Secondary Offering, Plaintiffs suggest that he was motivated to commit fraud by the

 prospect of losing his job if he told the truth about the Company’s financial situation, and that

 although the Monomoy Defendants initially intended to sell all 15 million shares of their stock—

 and filed a Form S-3 Registration Statement with the SEC that so indicated—the fact that they

 “were not able to sell the full amount of stock they had planned to only demonstrates that the

 Monomoy Defendants failed to make their fraudulent scheme as profitable as hoped, most likely

 because they decided that they could not conceal EveryWare’s failing condition in connection

 with such a large offering.” (Doc. 118 at 45.) Even the Monomoy Defendants’ sale of fewer

 than two million shares of stock, for a value of $18.5 million, at the Secondary Offering was still

 “highly unusual” in timing and “substantial” in volume, Plaintiffs contend. (Id.)

        Although the Court cannot say that this theory is outlandish, and may even be plausible,

 under the Tellabs standard it is simply not “cogent and at least as compelling” as the opposing

 inference toward which Defendants point the Court, namely, that Defendants’ actions show that

 they wanted the Company to succeed. Defendants first rely on the fact that the Monomoy
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 Defendants ultimately only sold 1.7 million shares for proceeds of $18.5 million, which was only

 a little over 10% of the 15 million shares they held at the time. After the stock price plummeted

 and the Company was in crisis, Monomoy invested an additional $20 million—more than they

 received from the sale of stock at the Secondary Offering—in an attempt to prop up the flailing

 Company. (8/14/14 Form 10-Q, Doc. 111-20 at 32.) 5 After EveryWare entered bankruptcy

 proceedings, the securities held by the Monomoy Entities were canceled and the Monomoy

 Entitites were left with approximately 3% of the post-bankruptcy Company. (6/2/15 Schedule

 13D/A, amend. 6, Doc. 111-23 at 12.)

        Peters owned only 100 shares at the time of the Secondary Offering and he sold none of

 them in the Offering. (9/9/13 Prospectus Supplement, Doc. 111-11 at S-86.) He also held

 options for 122,000 shares that would not have vested until June 2014 at the earliest. (4/14/14

 Schedule 14A, Doc. 123-3 at 5.) Sheppard did not sell any stock in the Secondary Offering and,

 in fact, increased his ownership stake from 8,171 shares immediately after the ROI merger to

 40,691 shares at the time of the Secondary Offering, which would have been a curious choice if

 he planned to commit fraud that would cause the stock price to plummet, yet not sell any shares

 in the Secondary Offering. (See 5/28/13 Form 8-K, Doc. 111-3 at 25 and Prospectus

 Supplement, Doc. 111-11 at S-86.) Sheppard also owned a substantial number of shares that

 would have vested annually over a four-year period. (4/14/14 Schedule 14A, Doc. 123-5 at 5

 5
  Defendants also note that 3.5 million of Monomoy’s shares were “earn out” shares that the
 Monomoy Entities would forfeit if the Company did not achieve share prices above specified
 levels. They ultimately hit the vesting triggers for 2.5 million of the 3.5 million earn out shares
 during the three-month period between June 30, 2013 and September 30, 2013. Monomoy did
 not earn the remaining one million shares because the share price did not reach $15. The Court
 concludes that this fact does not necessarily support either Plaintiffs’ or Defendants’ theory. On
 the one hand, Monomoy earned the majority of the eligible shares before the stock price began to
 plummet after the Secondary Offering. On the other hand, they did lose a significant number of
 shares when the share price failed to reach the $15 threshold.
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 (“All of the 2013 options issued are subject to time vesting conditions and vest ratably and

 become exercisable over a period of four years from the date of grant in the case of Mr.

 Sheppard’s options and five years from the date of grant in the case of Mr. Peter[s’] options.”).)

         Having reviewed these competing inferences, the Court finds that the inferences Plaintiffs

 draw from the facts alleged in the complaint are not as compelling as those of Defendants. The

 Monomoy Defendants had a greater motive to see EveryWare succeed, and they ultimately lost

 millions more than they received in the Secondary Offering. Plaintiffs have not offered a

 compelling reason why Defendants would have sold 1.7 million shares as opposed to the entire

 15 million shares they owned. They cannot explain why the Monomoy Entites would pump $20

 million into the company in an effort to prop it up, or why a loss of more than they had gained

 from the merger—the $90 million cash payout and the $18 million in shares sold—creates an

 inference of scienter. Nor can the Court even infer that filing the S-3 Registration Statement

 indicated that Defendants ever intended to sell 15 million shares in the Secondary Offering. As

 Defendants point out, all shelf registrations, once granted by the SEC, are active for up to three

 years, and therefore filing a Registration Statement indicating an intent to sell 15 million shares

 on June 17, 2013 does not necessarily show that the Monomoy Defendants intended to sell all of

 these shares at the Secondary Offering. See 17 C.F.R. § 230.415(a)(5) (“Securities registered on

 an automatic shelf registration statement . . . may be offered and sold only if not more than three

 years have elapsed since the initial effective date of the registration statement under which they

 are being offered and sold . . .”).

         Moreover, EveryWare’s publicly available correspondence with the SEC during this

 period supports an inference that the Monomoy Defendants did not reduce the number of shares

 they sought to sell because they were worried about the appearance of trying to commit too much
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 fraud, as it were. Rather, a more compelling inference is that the Company elected to reduce the

 number of shares it would sell in order to avoid the longer review process by the SEC that would

 have resulted if they tried to register more than one-third of the Company’s shares.6 And

 Plaintiffs’ attempts to infer fraud from the fact that the Company ultimately revised its 2013

 projections downward in October 2013 are unavailing. See Albert Fadem Trust, 334 F. Supp. 2d

 at 1017 (quoting Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1129 (2d Cir. 1994)

 (“[M]isguided optimism is not a cause of action, and does not support an inference of fraud. We

 have rejected the legitimacy of alleging ‘fraud by hindsight.’”)). Finally, even if the Court takes

 as true the vague allegation that Love revealed accounting improprieties to top management,

 only accounting violations that “are the type of extreme ‘in your face facts’ that ‘cry out’

 scienter” are sufficient under the PSLRA. Konkol, 590 F.3d at 400 (quoting PR Diamonds, Inc.

 v. Chandler, 364 F.3d 671, 685 (6th Cir. 2004), abrogated on other grounds by Matrixx

 Initiatives, 131 S. Ct. at 1323-25). Given the meager, perhaps even nonexistent, factual support

 Plaintiff offers for their accounting violations argument, the Court infers that these are not “in

 your face facts.”


 6
  Under the SEC’s Compliance and Disclosure Interpretation 612.09, a company must show
 “whether a purported secondary offering is really a primary offering, i.e., the selling shareholders
 are actually underwriters selling on behalf of an issuer. Underwriter status may involve
 additional disclosure . . . The question of whether an offering styled a secondary one is really on
 behal of the issuer is a difficult factual one . . .” EveryWare’s correspondence with the SEC
 suggests that it may have reduced the number of shares in the offering in order to shorten the
 SEC registration process. (See 7/12/13 SEC Comment Letter, Doc. 123-1 at 2-3; 8/13/13
 EveryWare Response Letter to SEC, Doc. 123-4.) (“While the Registrant does not believe that
 the amount of shares being registered alone is determinative of whether an offering is a disguised
 primary offering or a valid secondary offering, the Registrant acknowledges the Staff’s concern
 regarding the amount of shares to be offered by the selling stockholders and has reduced the
 amount of shares to be offered by the selling stockholders pursuant to the initial filing of the
 Registration Statement from 21,313,334 shares to 6,500,000 shares, as reflected in Amendment
 No. 2 filed concurrently with this letter.”)
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        Upon holistic review of these allegations, it is simply more likely that the Monomoy

 Defendants’ actions indicated an intent for the Company to succeed, not to inflate the stock price

 and ultimately let the Company fail.

        As to Sheppard and Peters, they gained nothing from the Secondary Offering because

 they sold no shares. See PR Diamonds, 364 F.3d at 691 (“[T]he absence of inside sales dulls

 allegations of fraudulent motive.”); City of Pontiac Gen. Employees’ Ret. Sys. v. Stryker Corp.,

 865 F. Supp. 2d 811, 834-35 (W.D. Mich. 2012) (explaining that a lack of sales by individual

 defendants “actually undermines an inference of scienter,” particularly where “they suffered

 large losses . . . from the shares they retained”); I.B.E.W. v. Limited Brands, Inc., 788 F. Supp. 2d

 609, 631 (S.D. Ohio 2011) (“The[] purchases of shares [during the class period by individual

 defendants] undermine any inference of scienter.”). Plaintiffs’ suggestion that Sheppard was

 motivated by keeping his job, even if not by profiting from the Secondary Offering itself, does

 not save their claim. Although the Supreme Court has stated that the absence of pecuniary

 motive on the part of a defendant is not fatal to a plaintiff’s Section 10(b) claim, “it can be a

 relevant consideration.” Tellabs, 551 U.S. at 325.

        Here, Plaintiffs have not alleged “motives to commit fraud as opposed to motives

 common to corporations and executives generally” such as an executive’s “desire for the

 company to appear successful and . . . to protect his position in the company and increase his

 compensation.” Local 295, 731 F. Supp. 2d at 720 (citing PR Diamonds, 364 F.3d at 690); see

 also Kalnit v. Eichler, 264 F.3d 131, 140 (2d Cir. 2001) (“[A]n allegation that defendants were

 motivated by a desire to maintain or increase executive compensation is insufficient because

 such a desire can be imputed to all corporate officers.”). In other words, as the Sixth Circuit has

 said, a complaint “must show concrete benefits that could be realized by one or more of the false
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 statements and wrongful nondisclosures alleged.” PR Diamonds, 364 F.3d at 690 (citing Phillips

 v. LCI Int’l, Inc., 190 F.3d 609, 621 (4th Cir. 1999)). For instance, the Eighth Circuit found such

 a motive where a CEO’s employment contract awarded him 2.5% of the Company’s pre-tax

 income, so an allegedly fraudulent overstatement of income leading to the expiration of that

 contract was sufficient to draw an inference of motive. Fla. State Bd. of Admin. V. Green Tree

 Fin. Corp., 270 F.3d 645, 661 (8th Cir. 2001) (“We conclude that the magnitude of [the

 defendant’s] compensation package, together with the timing coincidence of an overstatement of

 earnings at just the right time to benefit [him], provides an unusual, heightened showing of

 motive to commit fraud.”). Plaintiffs point to no similar such incentive here. Their reliance on

 the Sixth Circuit’s decision in Helwig, in which one of the nine factors enumerated by the court

 to consider in determining the presence of scienter was “the self-interested motivation of

 defendants in the form of saving their salaries or jobs,” is misplaced. 251 F.3d at 552. Given

 that Plaintiffs have only pointed to general motives common to all executives, this factor likely

 does not support an inference of scienter and in any event, this factor is only one of nine. As the

 Court will discuss infra, the Helwig factors on balance weigh largely in favor of Defendants

 here.

         Plaintiffs’ allegations as to Peters’ scienter fail for the same reasons as to Sheppard’s, as

 he did not sell stock in the Secondary Offering and, indeed, did not stand to benefit from his

 stock options until June 2014 at the earliest, which sharply cuts against any inference of scienter

 because he would not be motivated to see the stock price drop before then.

         The Court’s finding that Plaintiffs have not sufficiently pleaded scienter is buttressed by

 the absence of allegations under the Helwig factors. In Helwig, the Sixth Circuit laid out a non-


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 exhaustive list of nine factors relevant to a determination of whether a plaintiff has adequately

 pleaded scienter, including:

        (1) insider trading at a suspicious time or in an unusual amount;
        (2) divergence between internal reports and external statements on the same subject;
        (3) closeness in time of an allegedly fraudulent statement or omission and the later
        disclosure of inconsistent information;
        (4) evidence of bribery by a top company official;
        (5) existence of an ancillary lawsuit charging fraud by a company and the company's
        quick settlement of that suit;
        (6) disregard of the most current factual information before making statements;
        (7) disclosure of accounting information in such a way that its negative implications
        could only be understood by someone with a high degree of sophistication;
        (8) the personal interest of certain directors in not informing disinterested directors of an
        impending sale of stock; and
        (9) the self-interested motivation of defendants in the form of saving their salaries or
        jobs.

 251 F.3d at 552 (citing Greebel v. FTP Software, Inc., 194 F.3d 185, 196 (1st Cir. 1999)).

        First, there are no allegations that the first, fourth, fifth, or eighth factors are present here.

 As discussed earlier, the sales figures CW1 presented to then-CFO Church are not sufficient to

 establish that there was a “divergence between internal reports and external statements on the

 same subject,” Helwig, 251 F.3d at 552, because the pleading does not indicate that this was

 anything more than an employee’s disagreement with management. See Omnicare, 135 S. Ct. at

 1329. Nor have Plaintiffs identified any “internal reports, memoranda or the like and allege[d]

 both the contents of those documents and defendants’ possession of them at the relevant time,”

 In re Boston Tech., Inc. Sec. Litig., 8 F. Supp. 2d 43, 57 (D. Mass. 1998), or alleged any

 conversation took place with Sheppard, Peters or the Monomoy Defendants regarding other

 relevant factual information that would bear on scienter. Therefore, Plaintiffs cannot meet the
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 second or sixth Helwig factors. Nor have Plaintiffs argued that accounting information was

 disclosed in such a way that its negative implications could only be understood by a highly

 sophisticated investor. Indeed, most of Plaintiffs’ factual allegations regarding improper

 accounting, such as the contention that former General Counsel Love disclosed accounting

 irregularities to senior officials around the time of the Secondary Offering, lack any detail as to

 the “what, when, where, and how” of the supposed irregularities. Local 295, 731 F. Supp. 2d at

 721; see In re Omnicare, Inc. Sec. Litig., 769 F.3d 455, 482 (6th Cir. 2014) (“But the Complaint

 never offers concrete details, other than to say generally that the audit revealed fraud and

 compliance issues, that would allow us to determine whether [the company’s CEO] knew that

 the Form 10-K statements were false.”) Therefore, the Plaintiffs cannot show the seventh

 Helwig factor. As to the ninth factor, as discussed supra, the Court finds that the self-interested

 motivation of Defendants in the form of saving their jobs is probably not applicable because

 Plaintiffs have not pleaded specific facts beyond general motives common to all executives, and

 in any case, this factor alone is not sufficient to infer scienter. Finally, as to the third factor

 requiring temporal proximity between the fraudulent statement and the later disclosure of the

 truth, Defendants measure the appropriate length of time as the time between the announcement

 of the 2013 projections on January 31, 2013 and the point when the Company’s troubled

 financial situation first became apparent in late 2013. But since it is the August 1, 2013

 statements of present conditions that are in question here, the appropriate period of time is

 actually much shorter—only a few months. This may still not be a short enough period of time

 for this factor to weigh in Plaintiffs’ favor, but in any event, a balancing of all the Helwig factors

 dictates against a finding of scienter.


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        Plaintiffs have failed to put forth an inference of scienter that is at least as compelling as

 any competing inference. Because the Court finds that Plaintiffs have not properly pleaded

 scienter, it need not reach the question of whether their allegations of loss causation are

 sufficient. The Court finds that Defendants’ statements on the August 1, 2013 investor call and

 press release are not actionable under Section 10(b) and, therefore, the Court GRANTS

 Defendants’ motions to dismiss the Section 10(b) claims.

                               B. Section 20(a) Control-Person Claims

        Section 20(a) of the Exchange Act imposes secondary liability on persons who “control”

 the violators of Section 10(b). In re Cardinal Health Inc. Sec. Litig., 426 F. Supp. 2d 688, 762

 (S.D. Ohio 2006); 15 U.S.C. § 78t. In order to state a control-person claim, the plaintiff must

 properly plead a predicate Section 10(b) violation by a “controlled person,” and a “controlling

 person” must have directly or indirectly controlled the person liable for the 10(b) violation. PR

 Diamonds, 364 F.3d at 696. Because the Court finds no underlying Section 10(b) violation,

 Plaintiffs cannot state a Section 20(a) claim. Defendants’ Motions to Dismiss the Section 20(a)

 claims against Peters, Sheppard, and the Monomoy Defendants are GRANTED.

                                  C. Section 11 and 12(a)(2) Claims

                1. Statute of Limitations for Claims Against Newly-Added Defendants

        All of the Defendants to this suit, with the exception of Sheppard and Peters, were not

 named in the original complaint but instead were added to the May 15, 2015 amended complaint.

 (See Docs. 1, 38.) Defendants now assert that Section 11 and 12 claims against all Defendants

 except Sheppard and Peters must be dismissed because the amended complaint was filed more

 than one year after October 30, 2013, the date on which EveryWare revised its 2013 projections.

 (Doc. 11 at 4-5.)
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        The statute of limitations applicable to Section 11 and 12(a)(2) claims under the

 Securities Act is set forth at 15 U.S.C. § 77m, which states that:

        No action shall be maintained to enforce any liability created under [Section 11] or
        [Section 12(a)(2)] of this title unless brought within one year after the discovery of the
        untrue statement or the omission, or after such discovery should have been made by the
        exercise of reasonable diligence . . . . In no event shall any such action be brought to
        enforce a liability created under [Section 11] of this title more than three years after the
        security was bona fide offered to the public, or under [Section 12(a)(2)] of this title more
        than three years after the sale.

 The Sixth Circuit has held that an applicable one-year statute of limitations may be triggered by

 inquiry notice as well as actual notice. New England Health Care Employees, 336 F.3d at 500.7

 A plaintiff’s “knowledge of suspicious facts” does not, in itself, constitute inquiry notice; such

 suspicious facts, or “storm warnings,” merely trigger “a duty to investigate, and . . . the limitation

 period begins to run only when a reasonably diligent investigation would have discovered the

 fraud.” Id. at 501. The plaintiff bears the burden of establishing that she commenced the action

 within the statute of limitations and, therefore, must demonstrate the point when she knew or

 should have known of the fraud. Wuliger v. Owens, 365 F. Supp. 2d 838, 843 (N.D. Ohio 2005)

 (quoting Harner v. Prudential Sec. Inc., 785 F. Supp. 626, 632 (E.D. Mich. 1992), aff’d 35 F.3d

 565 (6th Cir. 1994)).

        Defendants contend that Plaintiffs had actual notice of the alleged fraud on October 30,

 2013, when EveryWare released its third-quarter financial results and revised its 2013 financial

 projections downward. (Doc. 111 at 19.) Additionally, Defendants argue that even if the statute

 of limitations was not triggered on October 30, 2013, it was certainly triggered by the March 31,

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  New England Health Care was a Section 10(b) case, but district courts through this circuit have
 applied the inquiry notice standard to Securities Act claims as well. See, e.g., Wuliger v. Owens,
 365 F. Supp.2d 838, 843 (N.D. Ohio 2005); Picard Chem. Inc. Profit Sharing Plan v. Perrigo
 Co., 940 F. Supp. 1101, 1118 (W.D. Mich. 1996).

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 2014 publication of the company’s 2013 Year-End Results. (Doc. 114 at 8.) Using either date,

 more than a year lapsed between the actual notice and the filing of the amended complaint on

 May 15, 2015. (Id.)

           Even if Plaintiffs did not have actual notice of the alleged fraud, Defendants contend they

 had inquiry notice of the fraud on October 30, 2013, and certainly on March 31, 2014, because a

 reasonable investor would have interpreted the negative financial results to indicate the

 possibility of misrepresentations or omissions in the Registration Statement and Prospectus. (Id.

 at 11.)

           Plaintiffs respond that it is “nonsensical” to expect that a reasonable investor would have

 notice of fraud merely by a company’s downward revision in its financial projections. (Doc. 118

 at 50.) They attempt to bolster their argument further by noting that Sheppard and EveryWare

 made “self-serving statements attempting to blame EveryWare’s negative results on unexpected

 events.”8 (Id.) Plaintiffs state that they only discovered the facts constituting the securities

 violations after an extensive investigation that included discussions with several former

 EveryWare employees, including the confidential witnesses referenced in the amended

 complaint, who explained that Sheppard had manufactured the earlier 2013 earnings and revenue

 projections and that EveryWare had essentially run out of money by July 2013. (Id. at 51.)

 Plaintiffs do not cite a specific date on which they believe the statute of limitations was

 triggered, either by actual or inquiry notice. Nor does the Amended Complaint mention any key

 dates in the investigation or conversations with former employees. Nevertheless, they urge the
 8
   Defendants further argue that since Sheppard left the company on February 25, 2014, an event
 that apparently “blindsided” analysts and led to a 28% drop in stock price (Doc. 38 at ¶ 169), at a
 very minimum, Plaintiffs should be charged with inquiry notice on that date, which would render
 the claims in the May 15, 2015 Amended Complaint outside the one-year limitations period.
 (Doc. 121 at 8 n.5.)
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 Court to rely on case law finding that the statute of limitations in a Securities Act case is a

 question of fact that cannot be decided on a motion to dismiss, characterizing this issue as one

 appropriate for discovery.

        A plaintiff “need not have fully discovered the nature and extent of the fraud before he

 was on notice that something may have been amiss. Inquiry notice is triggered by evidence of

 the possibility of fraud, not full exposition of the scam itself.” La Grasta v. First Union Sec.,

 Inc., 358 F.3d 840, 846 (11th Cir. 2004) (alterations omitted). But on a motion to dismiss, a

 claim is barred by the statute of limitations based on inquiry notice “only when uncontroverted

 evidence irrefutably demonstrates when plaintiff discovered or should have discovered” the

 violation. Newman v. Warnaco Grp., Inc., 335 F.3d 187, 194-95 (2d Cir. 2003); see also La

 Grasta, 358 F.3d at 846 (reversing a district court’s grant of a motion to dismiss on statute-of-

 limitations grounds because “[t]here may be numerous reasons, other than fraud, for a stock to

 decline (even steeply) in price”); Marks v. CDW Computer Centers, Inc., 122 F.3d 363, 367 (7th

 Cir. 1997) (“Whether a plaintiff had sufficient facts to place him on inquiry notice of a claim for

 securities fraud under S.E.C. Rule 10b-5 claim is a question of fact, and as such is often

 inappropriate for resolution on a motion to dismiss under Rule 12(b)(6).”) (alterations omitted).

 District courts in this circuit have found that a dispute over whether plaintiffs’ claims are barred

 by the one-year statute of limitations is factual in nature and cannot be decided on a motion to

 dismiss. See In re FirstEnergy Corp. Sec. Litig., 316 F. Supp. 2d 581, 601-02 (N.D. Ohio 2004);

 see also Bovee v. Coopers & Lybrand, 320 F. Supp. 2d 646, 656 (S.D. Ohio 2004) (whether

 claims were time-barred was a question of fact inappropriate for resolution on summary

 judgment); In re Direct Gen. Corp., Sec. Litig., 398 F. Supp. 2d 888, 897 (M.D. Tenn. 2005).


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        Here, the Amended Complaint does not affirmatively allege when Plaintiffs acquired

 actual knowledge of the facts that comprised the alleged fraud. But although Plaintiffs knew that

 EveryWare had adjusted its financial projections downward on October 30, 2013, and that its

 stock price had begun to drop precipitously, there are many reasons why a company might

 underperform, or its stock price drop, that have nothing to do with fraud (as Defendants have

 argued vigorously in other portions of their motions to dismiss). See La Grasta, 358 F.3d at 846.

        Defendants rely on Sixth Circuit precedent in Bishop v. Lucent Technologies, Inc. to

 bolster their argument that Plaintiffs’ failure to “plead facts in avoidance of the statute of

 limitations defense” is fatal to their claims. 520 F.3d 516, 520 (6th Cir. 2008). This Court does

 not agree. Although Plaintiffs failed to pinpoint in their complaint the date by which they

 concluded their investigation into Defendants’ alleged wrongdoing, they do detail their

 investigation and reveal the specific facts that it uncovered. (Am. Compl., Doc. 38 at ¶¶ 74-98.)

 Indeed, the instant case is distinguishable from some of the cases cited by Defendants in which

 the disclosures at issue concerned “precisely” the information the defendants had allegedly

 misrepresented or concealed and, therefore, the date that inquiry notice was triggered was

 obvious. See, e.g., Freidus v. Barclays Bank PLC, 734 F.3d 132, 138 (2d Cir. 2013) (affirming

 dismissal of Securities Act claims as time-barred because the “corrective disclosures provided

 precisely the information [the defendant] should have disclosed earlier such that [the plaintiffs]

 should have discovered their alleged claims on the dates of those disclosures”) (internal

 quotation marks omitted); Monroe Cnty. Emps. Ret. Sys. v. YPF Sociedad Anonima, 15 F. Supp.

 3d 336, 351-52 (S.D.N.Y. 2014) (holding that the plaintiffs should have discovered the alleged

 omissions due to widespread media reports about the risk of nationalization in the industry).

 Because Defendants have not persuaded the Court that any of the events it cites are comparable,
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 Defendants cannot clear the high hurdle of dismissal on the ground of untimeliness at this

 juncture.

        At this stage, the Court’s ruling for Plaintiffs on the question of the statute of limitations

 does not, of course, definitively mean that the amended complaint was timely filed. Rather, the

 Court merely holds that it is not “apparent from the face of the complaint” that the claim is time-

 barred and, therefore, the issue is one of fact that must be determined at a later stage of the

 litigation. Bishop, 520 F.3d at 520; see also La Grasta, 358 F.3d at 848; LaSalle v. MedCo

 Research, Inc., 54 F.3d 443, 447 (7th Cir. 1995) (“A fuller factual inquiry might of course cast

 the critical facts in a more ominous light. If for example the stock price of [the defendant’s]

 competitors rose or remained steady during the period when [the defendant’s] stock price was

 losing half its value, this might be a reason to believe that fraud was afoot.”).

                                         2. Section 11 Standing

        Section 11 of the Securities Act, 15 U.S.C. § 77k, imposes liability for securities

 registration statements containing materially false or misleading statements or omissions of

 material fact. J&R Marketing, SEP v. Gen. Motors Corp., 549 F.3d 384, 390 (6th Cir. 2008).

 Liability against the issuer of the security “is virtually absolute, even for innocent misstatements”

 and, therefore, a plaintiff is not required to plead scienter. Herman & MacLean v. Huddleston,

 459 U.S. 375, 382 (1983). To have standing under Section 11, a plaintiff who has purchased a

 security must plead “traceability,” meaning that she must show that the securities she purchased

 were registered under, or traceable to, the false and misleading registration statement at issue.

 This Court and others have interpreted this as a requirement that a plaintiff “show that he

 purchased a security issued pursuant to a registration statement.” Albert Fadem Trust, 334 F.

 Supp. 2d at 1004-05. Here, just over two million EveryWare shares that were previously issued
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 were already trading on the open market at the time of the Secondary Offering. (Doc. 38 at ¶

 20.) Defendants argue that Plaintiffs’ statements that they bought shares traceable to the

 Secondary Offering lack facial plausibility under Twombly and Iqbal.

        Plaintiffs’ complaint states the following. Plaintiffs purchased 29,000 shares of

 EveryWare stock through their broker, Morgan Stanley, on September 16, 2013, the date of the

 Secondary Offering. (Doc. 38 at ¶ 20.) These 29,000 shares were approximately 15% of the

 196,700 EveryWare shares traded on that day. (Id.) They paid a uniform price of $11.54 per

 share, four cents above the offering price. (Id.) Plaintiffs further allege that:

        Typically, a broker such as Morgan Stanley will purchase shares of a Company, such as
        EveryWare, from multiple counterparties, including the Underwriter Defendants, to
        satisfy its customers’ purchase orders. Given the amount of shares sold in the Secondary
        Offering (1,750,000 shares) in comparison to the pre-existing public float (2,023,000
        shares), the large number of shares purchased by IBEW on the same day as the
        Secondary Offering and the fact that IBEW’s purchase price was within pennies of the
        offering’s price, it is almost certain that at least some, if not all, of IBEW’s shares
        purchased are the same as the shares offered by the Defendants in the Secondary
        Offering.

 (Id.) Plaintiffs further state that they expect to develop evidence proving this inference in

 discovery, including through third-party subpoenas to the Depository Trust Company and the

 Financial Industry Regulatory Authority and discovery from the Underwriter Defendants. (Id.)

        Defendants urge the Court to adopt the pleading standard articulated in a recent Ninth

 Circuit decision, In Re Century Aluminum Co. Securities Litigation, 729 F.3d 1104 (9th Cir.

 2013). In Century Aluminum, the Ninth Circuit explained:

        When a company has issued shares in multiple offerings under more than one registration
        statement, . . . a greater level of factual specificity will be needed before a court can
        reasonably infer that shares purchased in the aftermarket are traceable to a particular
        offering. Making this determination is “a context-specific task that requires the reviewing
        court to draw on its judicial experience and common sense.” Iqbal, 556 U.S. at 679, 129
        S. Ct. 1937. As noted earlier, experience and common sense tell us that when a company
        has offered shares under more than one registration statement, aftermarket purchasers
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         usually will not be able to trace their shares back to a particular offering. Thus, in this
         case, plaintiffs had to allege facts from which we can reasonably infer that their situation
         is different. Standing alone, the conclusory allegation that plaintiffs “purchased Century
         Aluminum common stock directly traceable to the Company’s Secondary Offering” does
         not allow us to draw a reasonable inference about anything because it is devoid of factual
         content.

 Id. at 1107-08. The court went on to determine that allegations that the plaintiffs purchased a

 certain number of shares on particular dates for particular prices were not sufficient factual

 detail9 to save the plaintiffs from the defendants’ motion to dismiss because there was an

 “obvious alternative explanation” that the shares could have come from the previously issued

 shares, the plaintiffs had not met Twombly’s requirement to plead facts tending to exclude the

 possibility that the alternative explanation is true. Id. at 1108 (quoting Twombly, 550 U.S. at

 567).

         Neither the Sixth Circuit nor any district court therein has yet considered whether

 Century Aluminum is persuasive. Plaintiffs point the Court to several post-Twombly/Iqbal cases

 that found that plaintiffs had adequately alleged traceability even if they did not allege facts that

 tended to exclude the possibility that the shares had been bought in another offering. See, e.g., In

 re Ariad Pharms., Inc., 98 F. Supp. 3d 147, 167-69 (D. Mass. 2015) (declining to follow Century

 Aluminum and adhering to the previous rule, finding that other post-Twombly/Iqbal district court

 decisions were more persuasive); In re Mun. Mortg. & Equity, LLC, Sec. & Derivative Litig., 876

 F. Supp. 2d 616, 657-58 (D. Md. 2012) (“It may well be that [the plaintiff] will be unable to

 prove that he bought directly in the offering or that he can trace his shares to the offering.


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   In Century Aluminum, on January 28, 2009, the company issued a prospectus and registration
 statement in connection with a secondary offering of 24.5 million shares, at which point 49
 million shares of the company’s common stock were already trading in the market. Id. at 1106.
 The offering price was $4.50 per share and the plaintiffs purchased shares on January 29, 2009 at
 $4.56 per share and on January 30, 2009 at $3.56 per share. Id. at 1108.
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 However, inasmuch as the allegations present a plausible claim, they are adequate.”); In re

 Wachovia Equity Sec. Litig., 753 F. Supp. 2d 326, 373 (S.D.N.Y. 2011) (“The pleading

 requirement for Section 11 standing is satisfied by general allegations that plaintiff purchased

 pursuant to or traceable to [a] false registration statement]; see also Northumberland Cnty. Ret.

 Sys. v. Kenworthy, No. CIV–11–520–D, 2013 WL 5230000, at *6 (W.D. Okla. Sept. 16, 2013)

 (“Whether Lead Plaintiffs can prove those allegations is a matter that involves consideration of

 the merits of the claims rather than the sufficiency of the pleadings and should not normally be

 considered at this stage of the litigation.”).

         Even in the cases that have rejected conclusory allegations that a plaintiff has purchased

 “pursuant to or traceable to” a registration statement, courts have left open the door for plaintiffs

 to plead factual allegations that, while not establishing with great certainty that their shares are

 traceable, may state a plausible claim. For instance, in Grand Lodge of Pennsylvania v. Peters,

 550 F. Supp. 2d 1363, 1369 (M.D. Fla. 2008), the court noted that the lead plaintiffs purchased

 shares three months after the offering in question, made only a conclusory allegation that the

 purchase was traceable to the offering’s registration statement, and had “not suggested what

 evidence they intend to use to show that the particular shares purchased by [the plaintiffs] can be

 traced to the stocks issued in the” secondary offering. See also Ho v. Duoyuan Global Water,

 Inc., 887 F. Supp. 2d 547, 561 (S.D.N.Y. 2012) (“[Plaintiffs] do not offer any facts to support

 their conclusory statements that their shares can be traced to the [secondary offering].”). Indeed,

 a district court within the Ninth Circuit, applying Century Aluminum, noted that “the bar

 plaintiffs must clear to plead their claim is set only as high as ‘plausibility,’ not, as defendants

 would have it, certain knowledge”; that court found that the plaintiffs’ theory of standing was

 “straightforward, eminently plausible, and, indeed, highly likely” and therefore denied the
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 defendants’ motion to dismiss on the ground of standing. In re Ubiquiti Networks, Inc. Sec.

 Litig., 33 F. Supp. 3d 1107, 1119 (N.D. Cal. 2014).

        Although the Court agrees with the reasoning in Century Aluminum that Iqbal and

 Twombly “moved us away from a system of pure notice pleading,” 729 F.3d at 1107, and that,

 therefore, purely conclusory allegations are not sufficient to survive a motion to dismiss on

 standing grounds, Plaintiffs here have made sufficient, non-conclusory allegations of standing.

 In particular, Plaintiffs have alleged that they purchased 15% of the shares traded on the first day

 of the Secondary Offering, that they paid a uniform price through their broker of just four cents

 above the asking price, and that 1,7500,000 shares were sold in the Secondary Offering in

 comparison to the pre-existing public float of 2,023,000 shares. (Am. Compl., Doc. 38 at ¶ 20.)

 Moreover, they have stated that in discovery they would seek to prove traceability through third-

 party subpoenas to the Depository Trust Company and the Financial Industry Regulatory

 Authority as well as through discovery from the Underwriter Defendants. (Id.) The Court finds

 that Plaintiffs have standing to bring a Section 11 claim against Defendants.

                                       3. Section 12(a)(2) Standing

        Section 12(a)(2) of the Securities Act, 15 U.S.C. § 77l(a)(2), imposes liability for selling

 a security by means of a prospectus or oral communication containing materially false or

 misleading statements or omissions of material fact. Section 12(a)(2) standing differs from

 Section 11 standing because a plaintiff has standing to bring a claim only against a “statutory

 seller” from which the plaintiff purchased the security at issue. In re Lehman Bros. Sec. & Erisa

 Litig., 799 F. Supp. 2d 258, 310 (S.D.N.Y. 2011). A “statutory seller” is one who “either

 transferred title to the purchaser or successfully solicited the transfer for financial gain.” Id.

 (citing Pinter v. Dahl, 486 U.S. 622, 642 (1988)). In other words, Section 12(a) “imposes
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 liability on only the buyer’s immediate seller; remote purchasers are precluded from bringing

 actions against remote sellers.” Pinter, 486 U.S. at 644 n. 21 (citing 15 U.S.C. § 77l).

 Defendants contend that Plaintiffs lack standing because the complaint does not allege that they

 purchased shares from a statutory seller.

        Plaintiffs have alleged that they “purchased” shares of EveryWare stock on the day of the

 Secondary Offering from their broker, Morgan Stanley. (Am. Compl., Doc. 38 at ¶ 20.) They

 have also alleged that they purchased 29,000 shares on that day at a purchase price of $11.54 per

 share. (Id. at Sch. A.) See Lehman Bros., 799 F. Supp. 2d at 311; see also Maine State Ret. Sys.

 v. Countrywide Fin. Corp., No. 2:10-cv-302, 2011 WL 4389689, at *11 (C.D. Cal. May 5, 2011)

 (dismissing Section 12(a)(2) claims where the purchases took place after the expiration of the

 forty-day prospectus delivery period set forth in the Securities Act). Assuming that these factual

 allegations are true, and drawing all reasonable inferences in favor of Plaintiffs, the Court must

 reject Defendants’ statutory standing argument.

        Section 12(a)(2) applies only to “a public offering of securities by an issuer or controlling

 shareholder” and not to aftermarket trading. Gustafson v. Alloyd Co., 513 U.S. 561, 584 (1995);

 FirstEnergy, 316 F. Supp. 2d at 602. Defendants contend that because Plaintiffs concede they

 purchased their shares through a broker, Morgan Stanley, their purchase was an “aftermarket”

 one and, accordingly, Defendants were not a statutory seller to Plaintiffs. (Doc. 111 at 21-22.)

 The Court is not persuaded. Although Defendants are correct that Plaintiffs must plead that that

 they purchased their shares “directly” from EveryWare at an initial public offering, the Court

 finds that Plaintiffs have done so by alleging that they purchased 29,000 shares on September 16,

 2013, the date of the initial public offering, at four cents per share over the share price, through

 their broker, an agent. (See Am. Compl., Doc. 38 at ¶ 20.)
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        None of the cases cited by Defendants presents the issue of an agent purchasing the stock

 on the date of the initial public offering. And it would make little sense to preclude a buyer from

 bringing a Section 12(a)(2) claim against a seller solely because that buyer used an agent.

 Plaintiffs have alleged that they purchased EveryWare stock through their broker, Morgan

 Stanley, which purchased it directly from EveryWare. A “stock or commodities broker is the

 agent of the customer.” Street v. J.C. Bradford & Co., 886 F.2d 1472, 1481 (6th Cir. 1989).

 Other courts have denied motions to dismiss Section 12(a)(2) claims on standing grounds where

 the plaintiffs pleaded that they purchased a certain number of shares from defendants through a

 “duly authorized agent.” In re Royal Ahold N.V. Sec. & Erisa Litig., 384 F. Supp. 2d 838, 841

 (D. Md. 2005) (rejecting the defendants’ argument that the plaintiff’s contention that it

 “purchased stock ‘through its duly authorized agent, Bank of Ireland Management,’ . . . is not

 sufficient”). As the court in Royal Ahold found: “The precise nature of the agency relationship

 can be determined through discovery and resolved on a fuller factual record. The cases relied on

 by defendants suggest that the agent itself may have standing to sue, but do not conclusively

 establish that the entity whose funds the agent has used to make the purchase lacks such

 standing.” Id. Therefore, the Court finds that Plaintiffs have sufficiently alleged facts to show

 that they have standing to bring Section 12(a)(2) claims, against all Defendants except the Non-

 Management Director Defendants, as to whom the Court will dismiss Plaintiff’s 12(a)(2) claims

 on an alternative ground.

        The Non-Management Director Defendants assert that they are not statutory sellers

 because merely signing a registration statement is insufficient to show “solicitation” of purchase;

 they cite decisions from the First, Third, and Fifth Circuits that support this position. (Doc. 114

 at 19-20.) Plaintiffs fail to respond to this argument in their opposition brief. Their only
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 allegations in the Complaint as to the Section 12(a)(2) claims against the Non-Management

 Director Defendants are that these Defendants signed the Registration Statement, which “was

 used to induce investors, such as Plaintiffs and the other members of the Class, to purchase the

 Company’s shares.” (Am. Compl., Doc. 38 at ¶ 216.)

        In Shaw v. Digital Equipment Corp., the First Circuit dismissed for lack of standing the

 plaintiffs’ Section 12(a)(2) claims against individual directors, applying the Supreme Court’s

 decision in Pinter v. Dahl, 486 U.S. 622, 651 n. 27 (1988),10 to conclude that “neither

 involvement in preparation of a registration statement or prospectus . . . , standing alone,

 demonstrates the kind of relationship between defendant and plaintiff that could establish

 statutory seller status.” 82 F.3d 1194, 1216 (1st Cir. 1996), superseded on other grounds by 15

 U.S.C. 78u-4(b)(2). The First Circuit held that a “bald assertion” that the individual officers

 “solicited” the purchases by signing and participating in the preparation of the registration

 statement was insufficient to confer standing. Id. In Rosenzweig v. Azurix Corp., also applying

 Pinter, the Fifth Circuit found that signing the registration statement was insufficient in itself to

 constitute solicitation, asserting that“[t]o count as ‘solicitation,’ the seller must, at a minimum

 directly communicate with the buyer,” and that an issuer, rather than an underwriter, “may only

 be liable under § 12(a)(2) if the plaintiff alleges ‘that an issuer’s role was not the usual one; that

 it went farther and became a vendor’s agent.’” 332 F.3d 854, 871 (5th Cir. 2003) (quoting

 Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d 628, 636 (3d Cir. 1989) and Lone Star Ladies Inv.

 Club v. Schlotzsky’s, Inc., 238 F.3d 363, 370 (5th Cir. 2001)). See also Pinter, 486 U.S. at 648-

 49 (rejecting the “substantial factor” test, which would impose liability on a non-transferor seller


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   Pinter addressed standing in the context of a Section 12(a)(1), not a Section 12(a)(2), claim,
 but the First Circuit found that the standing requirements of both statutes were identical.
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 “whose participation in the buy-sell transaction is a substantial factor in causing the transaction

 to take place.”). In Craftmatic, the Third Circuit found that an issuer was not liable “solely on

 the basis of his involvement in preparing the prospectus.” 890 F.2d at 636.11 The Sixth Circuit

 has not yet considered this issue, but the Court finds the reasoning of the other three circuits

 persuasive and holds that Plaintiffs lack standing to bring a Section 12(a)(2) claim against the

 Non-Management Director Defendants because they have not alleged any facts to indicate that

 the Directors’ roles were “not the usual one.” Rosenzweig, 332 F.3d at 871. The Court thus

 DISMISSES the Section 12 claims against the Non-Management Director Defendants.

           4. False and Misleading Statements or Omissions under Section 11 and 12(a)(2)

                                          a. Pleading Standard

        Having found that Plaintiffs have standing to pursue their Section 11 claims, as well as

 Section 12(a)(2) claims, against all Defendants except the Non-Management Directors, the Court

 will consider whether Plaintiffs have alleged false or misleading statements in the Registration

 Statement and the Prospectus, respectively.

        As a threshold matter, the parties dispute whether the Rule 8 pleading standard or the

 more demanding Rule 9(b) standard applies to Plaintiffs’ Section 11 and 12(a)(2) claims.

 Plaintiffs are correct that as to Defendants against whom no fraud is alleged, the plausibility

 pleading requirements of Rule 8(a) apply. See Rombach v. Chang, 355 F.3d 164, 167 (2d Cir.

 2004); First Energy, 316 F. Supp. 2d at 602. As to claims that sound in fraud, Plaintiffs must

 also satisfy the particularity requirements of Rule 9(b). Omnicare, 583 F.3d at 948. Here,
 11
    In Craftmatic, the Third Circuit found that the plaintiffs’ allegations regarding standing were
 sufficient to survive a motion to dismiss, but explicitly relied on the pleading standard in Conley
 v. Gibson, 355 U.S. 41, 45-46 (1957) that has since been superseded by Twombly and Iqbal. Id.
 at 637. This Court is skeptical that the conclusory language of the plaintiffs’ complaint in
 Craftmatic would survive the more stringent pleading standard.
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 Plaintiffs have disavowed fraud claims against the Underwriter Defendants and the Non-

 Management Director Defendants and urge the Court to apply Rule 8 to their claims against

 those Defendants, while applying Rule 9(b) only to Sheppard, Peters, Collin, and Presser. (See

 Doc. 38 at ¶¶ 44, 53.) Defendants contend that because the underlying allegations are premised

 on fraud, the Rule 9(b) standard applies to Section 11 and 12(a)(2) claims against all Defendants.

        Here, Plaintiffs’ complaint contains no allegations that the Section 11 claims against the

 Non-Management Directors or Underwriter Defendants, or the Section 12(a) claims against the

 Underwriter Defendants, sound in fraud. Rather, the complaint contains only assertions that they

 failed to conduct a reasonable investigation to ensure the truth and accuracy of the Registration

 Statement they signed. (Id. at ¶¶ 209, 219.) Cf. In re Alstom SA, 406 F. Supp. 2d 402, 410

 (S.D.N.Y. 2005), abrogated on other grounds by Dekalb Cnty. Pension Fund v. Transocean Ltd.,

 No. 14-0894, 2016 WL 1055363, at *6 (2d Cir. Mar. 17, 2016) (applying the Rule 9(b) standard

 to Section 11 and 12(a)(2) claims that sounded in fraud where the complaint contained explicit

 allegations that the defendants committed misrepresentations and committed accounting fraud).

 Defendants’ argument to the contrary mainly relies on Plaintiffs’ allegations of fraud against

 other Defendants, and therefore Defendants’ argument that Rule 9(b) should apply fails. It is for

 this reason, and not the one-sentence “disclaimers” in Plaintiffs’ complaint disavowing

 allegations of fraud against the Non-Management Director Defendants and Underwriter

 Defendants, that leads the Court to conclude that Plaintiffs need only meet the Rule 8 pleading

 standard with regard to the Section 11 and 12(a)(2) claims against these two groups of

 Defendants. See Local 295, 731 F. Supp. 2d at 709 (noting that “blanket disavowal” of fraud is

 “insufficient” to avoid the requirements of Rule 9(b)).


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        Because Plaintiffs’ claims “carefully segregate[] [their] allegations of negligence against

 [certain defendants] from [their] allegations of fraud against those defendants,” thereby creating

 “a clear conceptual separation in the complaint between claims sounding in negligence and those

 sounding in fraud,” In re Supreme Specialties, Inc. Sec. Litig., 438 F.3d 256, 273 (3d Cir. 2006),

 the Court concludes that the Section 11 and 12(a)(2) claims here do not sound in fraud against

 the Non-Management Director Defendants and the Underwriter Defendants. See also Rieckborn

 v. Jefferies LLC, 81 F. Supp. 3d 902, 918 (N.D. Cal. 2015) (applying Rule 9(b) where the

 allegations “accuse[d] all defendants of ‘engag[ing] in a fraudulent scheme to manipulate [the

 company’s] financial results’ by issuing or causing the issuance of ‘false and misleading

 statements ... in violation of Section 11,’” and alleging “that all defendants ‘kn[ew] and/or

 disregarded with deliberate recklessness’ the false and misleading statements in the registration

 statements”); Picard Chem., 940 F. Supp. at 1133 (applying Rule 9(b) to Section 12 claims

 where the complaint stated that the defendants “were motivated, at least in part, by a desire to

 serve their own financial interests”). As discussed below, however, even under the Rule 8

 standard, Plaintiffs have failed to state Section 11 or Section 12(a)(2) claims for relief.

                                   b. False or Misleading Statements

        Because Plaintiffs essentially argue that the Registration Statement and Prospectus

 contained the same representations and were false and misleading for the same reasons, the

 Court will consider the parties’ arguments regarding Section 11 and 12 claims together. (See

 Am. Compl., Doc. 38 at ¶ 160.)

        To state a claim under Section 11, “a plaintiff need only show that he purchased a

 security issued pursuant to a registration statement and that the statement made a material

 misrepresentation or omission.” Albert Fadem Trust, 334 F. Supp. 2d at 1004-05; 15 U.S.C. §
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 77k(a). To establish a claim under Section 12(a)(2), Plaintiffs must allege that a prospectus used

 to sell a security “includes an untrue statement of a material fact or omits to state a material fact

 necessary in order to make the statements, in the light of the circumstances under which they

 were made, not misleading.” 15 U.S.C. § 77l(a)(2). Under Item 303 of SEC Regulation S-K, 17

 C.F.R. § 229.303(a)(3)(ii) (“Item 303”), a registrant must “[d]escribe any known trends or

 uncertainties . . . that the registrant reasonably expects will have a material . . . unfavorable

 impact on . . . revenues or income from continuing operations.” An omission is only actionable

 if “there was a prior statement of material fact that is false, inaccurate, incomplete or misleading

 in light of the undisclosed information.” In re Ford Motor Co. Sec. Litig., 184 F. Supp. 2d 626,

 631-32 (E.D. Mich. 2001).

        First, Plaintiffs allege that the Registration Statement was false and misleading because it

 incorporated by reference EveryWare’s false and misleading earnings and revenue projections

 from its earlier-filed Form 8-Ks. (Am. Compl., Doc. 38 at ¶ 152.)

        Plaintiffs next allege that the Registration Statement and Prospectus were misleading

 because by September 16, 2013, the date of the Secondary Offering, the Company was on the

 brink of collapse, had run out of money, and was in danger of violating its debt covenants, all of

 which the Company should have disclosed under Item 303. (Id. at ¶ 155.)

        Finally, Plaintiffs allege that the Registration Statement and Prospectus violated Item 303

 because they failed to disclose the following material trends and conditions: (1) that the Merger

 had decapitalized EveryWare and rendered it insolvent without the ability to pay its suppliers and

 expenses; (2) that in the wake of stripping the Company’s capital, the Monomoy Defendants and

 Sheppard had imposed draconian cost reductions, which had led to inventory shortages and

 alienated customers, affecting the Company’s revenues and profits; (3) that the 2013 revenues
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 and earning projections lacked any basis and were not believed by Company management; (4)

 that EveryWare was selling products at negative profits in order to boost revenue artificially; and

 (5) that EveryWare had improperly failed to recognize as expenses its incurred factory costs and

 had instead capitalized them to inventory in violation of the Company’s accounting policies. (Id.

 at ¶ 158.)

        Defendants argue that Plaintiffs’ Section 11 and 12(a)(2) claims must be dismissed,

 contending that Plaintiffs have not alleged any materially false or misleading statements or

 omissions because: (1) Defendants fully disclosed the terms of the merger, including the basis

 for the calculations that Plaintiffs’ claim were misleading; (2) the 2013 projections were

 forward-looking statements that were entitled to the statutory “safe harbor,” and even if they

 were not, Plaintiffs have failed to allege that Defendants did not believe that the 2013 projections

 were achievable; (3) EveryWare’s decision to recalibrate the amount of factory expenses

 incorporated into its inventory calculation does not establish that the inventory calculations in the

 Registration Statement were misleading; and (4) Plaintiffs’ claims that the Registration

 Statement wrongly omitted pessimistic predictions about the Company’s prospects are not

 actionable. (Doc. 111 at 24-25.)

        As to Plaintiffs’ argument that Registration Statement and Prospectus were false and

 misleading because they incorporated the 2013 projections, the Court has already found that

 these projections were not false or misleading. Accordingly, the Court finds this argument

 meritless.

        As to Plaintiffs’ remaining claims, the Court finds that Plaintiff’s allegations are not well-

 pleaded. First, Plaintiffs’ allegations of accounting violations lack factual support. The

 complaint contains the vague statement that former General Counsel Love discovered certain
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 “inaccurate financial disclosures” at EveryWare. (Am. Compl., Doc. 38 at ¶ 112.) Plaintiffs’

 complaint also cites a complaint from former EveryWare employee Michael Stewart, who

 conducted an investigation of Love after she notified management of the accounting

 inaccuracies. Stewart alleged that he was charged with reporting his findings on Love’s records

 to Defendant Peters. (Id. at ¶ 114.) Based on the date of her departure, October 7, 2013, and

 Stewart’s account in his complaint that she had approached management and “threatened to

 report her discovery to the [SEC] if the issues were not corrected within ninety days,” they

 speculate that her discovery occurred around the time of the Secondary Offering. (Id. at ¶ 113.)

 But Plaintiffs put forth no allegations about the nature of the “inaccurate financial disclosures” or

 the content of the reports Stewart provided to Peters. Such a flimsy allegation cannot survive a

 Rule 12(b)(6) motion.

        To the extent that Plaintiffs argue that the accounting improprieties are related to the

 supposed concealment of factory costs, Plaintiffs’ allegations are as follows. The improved

 margins that the Company cited in its October 30, 2013 announcement of third-quarter earnings

 and revenue were obtained by including factory expenses in inventories to make the Company’s

 margins appear stronger than they were. (Id. at ¶ 100.) Then on March 31, 2014, when it

 announced its fourth-quarter earnings, the Company stated that its “calculation of the factory

 manufacturing variance capitalized in inventory was based on historical experience. In the

 fourth quarter 2013, we identified a deviation from historical experience resulting in an increase

 in the inventory revaluation reserve of $5.9 million, or $0.35 per diluted share, which was

 accounted for as a change in accounting estimate.” (3/31/14 10-K, Doc. 111-16 at 50; see also

 Am. Compl., Doc. 38 at ¶ 100.) But simply alleging that “statements in one report should have

 been made in earlier reports do not make out a claim of securities fraud.” In re Comshare, Inc.
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 Sec. Litig., 183 F.3d 542, 553-54 (6th Cir. 1999) (quoting Stevelman v. Alias Research Inc., 174

 F.3d 79, 84 (2d Cir. 1999)). Indeed, even the “failure to follow [Generally Accepted Accounting

 Principles] is, by itself, insufficient to state a securities fraud claim.” Comshare, 183 F.3d at at

 553. And Plaintiff’s complaint does not even allege a failure to follow GAAP but, rather, only a

 conclusory allegation that the inventory accounting method was “in violation of the Company’s

 accounting policies.” (Am. Compl., Doc. 38 at ¶ 158.)

        Similarly, choosing to sell products at a loss temporarily (see Am. Compl., Doc. 38 at ¶¶

 103-04) is sometimes a valid business judgment and companies are not required to disclose such

 a strategy. See In re Canandaigua Sec. Litig., 944 F. Supp. 1202, 1208-09 (S.D.N.Y. 1996)

 (finding that financial results were not misleading where the company used a “price discounting

 scheme” and holding that such a scheme need not be disclosed). There is also no reason to

 believe that simply because EveryWare decided “to exit low/no margin product lines (id. at ¶

 105),” which purportedly led to a decline in revenues, that such a decision was based on anything

 but appropriate business judgment to stop selling in an area once the Company realized it was

 not profitable.

        As to Plaintiffs’ allegations that it was obvious by the time the Registration Statement

 and Prospectus were issued that the Company was “running out of money,” Plaintiffs’ argument

 appears to rely mainly on allegations from CW7, the Director of Finance in EveryWare’s United

 Kingdom office. CW7 stated that based on his knowledge of EveryWare’s business and the

 substantial lead time required for placing orders, “EveryWare’s management had to have known

 that EveryWare was running out of money and in danger of defaulting on its debt” by July 2013.

 (Id. at ¶ 98.) But without more support for this conclusory allegation, the Court cannot

 determine that the Director of Finance for the United Kingdom office would have been in a
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 position to know this information about finances in the United States, especially since Plaintiffs

 have not offered any other non-conclusory allegations that the Company was running out of

 money when the Registration Statement and Prospectus were issued. There is no factual support

 for the proposition that July 2013 would have been the date when the danger of running out of

 money “would have been unmistakable to EveryWare management.” (Id.) Indeed, the only

 specific conversation CW7 cites regarding the company running out of money is a conference

 call in which CW7 participated when an unidentified person told Defendant Peters “that it was

 time for EveryWare U.S. to extend the promised capital [for the U.K. branch],” at which point

 Peters said that “the funding would not be forthcoming because there was ‘no money in the

 U.S.’” (Id. at ¶ 97.)

        Nor do the statements from other confidential witnesses constitute plausible factual

 allegations that the Company was running out of money when it issued the Registration

 Statement on June 17, 2013, the later amendments to the Registration Statement on August 13,

 2013 and September 3, 2013, or the Prospectus on September 16, 2013. Plaintiffs’ complaint

 does not indicate how any of the other confidential witnesses—a sales manager, an inventory

 control manager in the United Kingdom, a district sales manager, and a national sales

 manager—would have been in a position to know that the Company was running out of money

 by September 16, 2013. For instance, Confidential Witness 5 (“CW5”), the inventory control

 manager, was allegedly told by his manager that the Company’s international segment would

 have to manage inventory with less available capital and that vendors had informed him that

 EveryWare had slowed payment to them. (Id. at ¶¶ 92-93.) The district sales manager,

 Confidential Witness 4, stated that the Company’s relationships with two major customers, Ruby

 Tuesday’s and Chili’s. were “harmed” because the customers were frustrated “regarding the
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 quality of EveryWare’s products and the delays they had experienced in waiting for EveryWare

 to fill orders.” (Id. at ¶ 89.) Confidential Witness 3, the sales manager, and Confidential

 Witness 6, the national sales manager, also reported inventory shortages. (Id. at ¶¶ 86-97, 95.)

 But none of these allegations sufficiently “establish[es] their basis of knowledge . . . (‘what,

 when, where, and how’)” because Plaintiffs offer no facts regarding the specifics of the inventory

 shortages or the delays in the orders or, most importantly, how these particular confidential

 witnesses were in a position to know that these inventory shortages were not merely specific to

 their areas but reflected a companywide problem.12 See Local 295, 731 F. Supp. 2d at 721. The

 complaint lacks any such allegation. Moreover, as Defendants point out, it seems somewhat

 contradictory for Plaintiffs, on the one hand, to allege that EveryWare was selling large amounts

 of inventory and taking a loss on it in order to drive up revenue to inflate the share price and, on

 the other hand, to suggest that there were inventory shortages that, presumably, were making it

 difficult for the Company to make a healthy number of sales. Plaintiffs have not attempted to

 explain this contradiction.

        Finally, as to Plaintiffs’ argument that EveryWare was running out of money because the

 Monomoy Defendants had stripped it of $90 million in capital, Defendants are correct that the

 January 31, 2013 Form 8-K disclosed that the Monomoy Defendants would receive a payout of

 between $90 million and $107.5 million in cash under the terms of the merger. (1/31/13 Form 8-

 K, Doc. 111-1 at 3; 5/21/13 Form 8-K, Doc. 111-3 at 8.) The fact that the ROI Merger resulted

 in negative stockholder equity of $59 million was also disclosed. (Doc. 111-3 at 81.)
 12
    CW5 did allege that, in his capacity as the inventory control manager in which he worked with
 vendors to procure inventory required for customer sales, his manager told him that Everyware
 was experiencing cash shortages that required the Company’s international segment to manage
 inventory will less available capital, but there is no suggestion that this problem was not specific
 to the international segment of the business. (Id. at ¶¶ 92-93.)
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                                 D. Section 15 Control-Person Claims

        Defendants move to dismiss Plaintiffs’ “control person” claims under Section 15 of the

 Securities Act on the grounds that: (1) they have not stated a claim for relief under Section 11 or

 12(a)(2); and, in the alternative, (2) they have not alleged that Defendants were sufficiently

 involved in the challenged statements to support “control person” liability. (Doc. 111 at 33.)

        Section 15 claims must be dismissed if Section 11 and 12(a)(2) claims are dismissed

 because Section 15 liability is “triggered only to the extent primary liability first attaches to a

 ‘controlled person.’” Lenartz v. Am. Superconductor Corp., 879 F. Supp. 2d 167, 188 (D. Mass.

 2012) (quoting 15 U.S.C. § 77o(a)). Therefore, Defendants’ motions to dismiss the Section 15

 claims are GRANTED.

                                         V.      CONCLUSION

        For the foregoing reasons, the Court GRANTS all Defendants’ Motions to Dismiss

 (Docs. 110, 111, 112, 113, 114, 115). The Amended Class Action Complaint is DISMISSED

 with prejudice. The Clerk is directed to enter Judgment for Defendants.

        IT IS SO ORDERED.

                                                         s/Algenon L. Marbley
                                                        ALGENON L. MARBLEY
                                                        UNITED STATES DISTRICT JUDGE

 DATE: March 30, 2016




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